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1
2        UNITED STATES BANKRUPTCY COURT
3        SOUTHERN DISTRICT OF NEW YORK
4        -----------------------------------------x
5        GEORGE PACKARD, EDWARD BECK,
         MICHELLE BERGER, ARI COWAN, CONNOR
6        HICKS, CHARLES MEACHEM, CHRIS PHILLIPS,
         LARRY SWETMAN and AMADON DELLERBA,
7        individually and on behalf of all others
         similarly situated,
8                                            Plaintiffs,
9                           vs.
10       THE CITY OF NEW YORK, a municipal entity,
11                                           Defendant.
12       -----------------------------------------x
13
14
15                   DEPOSITION OF LT. DENNIS GANNON
16                             September 7, 2018
17                             New York, New York
18                                   10:14 a.m.
19
20
21
22      Reported by:
        Elizabeth Santamaria
23
24
25

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1
2                                       * * *
3
4                        Deposition of LT. DENNIS GANNON,
5        held at the offices of Wylie Stecklow, PLLC,
6        217 Centre Street, New York, New York, before
7        Elizabeth Santamaria, Court Reporter and
8        Notary Public.
9
10                                      * * *
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1
2              A P P E A R A N C E S
3
4        ATTORNEYS FOR THE PLAINTIFFS:
5        WYLIE STECKLOW, PLLC
6        217 Centre Street - 6th Floor
7        New York, New York 10013
8        (212) 566-8000
9        BY:        WYLIE M. STECKLOW, ESQ.
10                  WYLIE@WYLIELAW.COM
11                  JON AVINS, ESQ.
12
13       ATTORNEYS FOR THE Defendant:
14       ZACHARY W. CARTER
15       Corporation Counsel of the City of New York
16       100 Church Street
17       New York, New York 10007
18       (212) 356-1000
19       BY:        AMY ROBINSON, ESQ.
20                  JONI FORSTER-GALVIN, ESQ.
21
22       ALSO PRESENT:
23                  Carrie B. Talansky, Esq. NYPD Legal Bureau
24                  Joseph Sharkey
25

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1
2
3                                      * * *
4                       IT IS HEREBY STIPULATED AND AGREED,
5        by and between counsel for the respective
6        parties hereto, that the filing, sealing and
7        certification of the within deposition shall
8        be and the same are hereby waived;
9                       IT IS FURTHER STIPULATED AND AGREED
10       that all objections, except as to the form of
11       the question, shall be reserved to the time of
12       the trial;
13                      IT IS FURTHER STIPULATED AND AGREED
14       that the within deposition may be signed
15       before any Notary Public with the same force
16       and effect as if signed and sworn to before
17       the Court.
18                                     * * *
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1                                        Gannon
2        L T.        D E N N I S     G A N N O N, having been first
3                     duly sworn according to law by the Officer,
4                     testifies as follows:
5        EXAMINATION BY
6        MR. STECKLOW:
7               Q.       Please state your name for the
8        record.
9               A.       Lt. Dennis Gannon.
10              Q.       Good morning.     The time is now
11       10:14 a.m.       My name is Wylie Stecklow.         We're
12       in my office at 217 Centre Street.              Sitting to
13       my right is Jon Avins, another attorney with
14       my office.       Same to his right is Joseph
15       Sharkey, a video clerk who works with us.
16                       In the room is the court reporter
17       whose name is --
18                       COURT REPORTER:     Elizabeth
19              Santamaria.
20              Q.       -- Elizabeth Santamaria.
21                       And then there are three attorneys
22       for Lt. Gannon, including Amy Robinson from
23       the City Law Department, Joni Forster-Galvin
24       and Carrie Talansky from the NYPD Legal
25       Bureau.

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1                                                 Gannon
2                            Good morning, Lieutenant.
3                   A.       Good morning.
4                   Q.       I'm going to start off by going
5        through some of the basics of the deposition
6        and then get into more specifics.
7                            Have you been deposed before?
8                   A.       Yes.
9                   Q.       How many times?
10                  A.       A few times.           The exact number I
11       don't know.           A few times.
12                  Q.       So you have some basics down, so
13       I'm going to try and get through them quickly
14       so we don't waste time on that.
15                  A.       Sure.
16                  Q.       As you know, you need to wait for
17       me to finish all my questions and answer
18       verbally so that the court reporter can take
19       your answers down.                And if you don't
20       understand the question, you can let me know.
21       If you don't hear a question, you can let me
22       know.           If I'm unclear to you in any way, you
23       can let me know, and if you don't know the
24       answer to my question you can let me know.
25                           Is all of that clear?

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1                                            Gannon
2                   A.   Yes.
3                   Q.   And agreed to?
4                   A.   Yes.
5                   Q.   If there's something that might
6        help you remember an answer to my question,
7        you can let me know.             If there is any reason
8        you can't testify truthfully and accurately
9        here today?
10                       (Reporter requested clarification.)
11                  A.   No.
12                  Q.   Have you consumed any drugs or
13       alcohol in the last 24 hours?
14                  A.   The last 24 hours?
15                  Q.   Yes.
16                  A.   No.
17                  Q.   Are you aware of any physical
18       condition that would affect your ability to
19       testify truthfully here today?
20                  A.   No.
21                  Q.   Are you aware of any mental
22       condition that would affect your ability to
23       testify truthfully and accurately here today?
24                  A.   No.
25                  Q.   Are you taking any medications that

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1                                           Gannon
2        might affect your ability to testify
3        truthfully and accurately here today?
4                   A.   No.
5                   Q.   Are there any medications you
6        should be taking but you're not taking that
7        might affect your ability to testify
8        truthfully and accurately here today?
9                   A.   No.
10                  Q.   So is there any reason whatsoever
11       why you cannot testify truthfully and
12       accurately here today?
13                  A.   No.
14                  Q.   And you're also aware that you were
15       just sworn in, you're under oath and that's
16       the same type of oath you would be taking if
17       you were in a court of law?
18                  A.   Correct.
19                  Q.   And the oath is to tell the truth,
20       correct?
21                  A.   Correct.
22                  Q.   Okay.     And that you understand that
23       after the deposition is over, some days in the
24       future you'll be given a copy of the
25       transcript and you will be given an

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1                                               Gannon
2        opportunity to review it and make changes to
3        it, correct?
4                   A.       Correct.
5                   Q.       And you understand if you do make
6        changes to it I may be able to question you
7        about those changes if we get to trial and
8        you're called as a witness?
9                   A.       Correct.
10                  Q.       Okay.    If I ask you a question and
11       you know the answer because your recollection
12       was refreshed by a document or recording, you
13       need to let me know that when you are giving
14       the answer.             Is that understood?
15                  A.       Sure.
16                  Q.       As the deposition is going along if
17       you remember an answer that you gave
18       previously and you would like to change it,
19       you can let me know and we can go back to
20       that.           Okay?
21                  A.       Okay.
22                  Q.       As you know, you're here today on
23       behalf of the City of New York, correct?
24                  A.       Correct.
25                  Q.       And so when I refer to you in this

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1                                            Gannon
2        deposition I'm referring to you in your
3        capacity as a representative of the City of
4        New York, unless I expressly say otherwise.
5        Is that okay?
6                   A.   Sure.
7                   Q.   So, for example, if I ask whether
8        you know or believe something I'm really
9        asking you to testify on behalf of the City of
10       New York.
11                  A.   Okay.
12                  Q.   So please note that in this
13       deposition when I use the term "document" I
14       mean any kind of recorded information
15       including paper records, electronic documents,
16       electronic information and database images and
17       video unless I expressly say that I intend to
18       use the word in a more narrow sense.                    Is that
19       okay?
20                  A.   Yes.
21                  Q.   I may also use the phrase
22       "documents and video" and when I do I intend
23       to use the term "documents" in the broad sense
24       I just explained.           Is that okay?
25                  A.   Yes.

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1                                            Gannon
2                   Q.   When I refer to the NYPD, I'm also
3        referring to the City of New York as a whole
4        unless I expressly say otherwise.
5                        In other words, if I ask you
6        whether the NYPD has a particular kind of
7        policy, I expect you to let me know about any
8        such policy maintained by the NYPD or by the
9        City of New York.           Is that okay?
10                  A.   Yes.
11                  Q.   And when I ask about the City of
12       New York, I will expect your answer to include
13       information concerning the NYPD.                  Is that
14       okay?
15                  A.   Sure.
16                  Q.   I'm going to review something we've
17       already gone over, but you're here to testify
18       on behalf of the City of New York, correct?
19                  A.   Correct.
20                  Q.   Your answers here will be sworn,
21       answers made on behalf of the City of New
22       York, correct?
23                  A.   Yes.
24                  Q.   Your answers in this deposition
25       will be binding on the City of New York in the

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1                                            Gannon
2        same way that any witness testifying on their
3        own behalf would be bound by their answers,
4        correct?
5                   A.    Correct.
6                   Q.    Is there any way you believe the
7        statement I just made is not correct?
8                   A.    No.
9                   Q.    I'm going to now ask you about your
10       preparation and just be forewarned.                   I do not
11       want to know about any specific communications
12       you had with your counsel in answers to these
13       questions.
14                  A.    Okay.
15                        MS. ROBINSON:         Wylie, one question.
16                  Can we go off the record?
17                        MR. STECKLOW:         Sure.
18                        MS. ROBINSON:         Just for a second.
19                        (Discussion off the record.)
20                        MR. STECKLOW:         On the record.
21                  Q.    Do you agree that as a 30(B)(6)
22       witness representing the City in this
23       deposition you're under a duty to inform
24       yourself as to the subject matter of the
25       deposition?

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1                                          Gannon
2               A.      Yes.
3               Q.      And do you believe you have
4        fulfilled that obligation?
5               A.      Yes, to the best of my ability.
6               Q.      Do you understand the subject
7        matter of this deposition?
8               A.      I do.
9                       MR. STECKLOW:        Let's mark this as
10              Exhibit 1.
11                             (Plaintiffs' Exhibit 1, multi-page
12                   document, marked for identification, as of
13                   this date.)
14              Q.      I am handing you what has now been
15       marked as Exhibit 1.           I ask you to review that
16       document and let me know if you are ready and
17       prepared to testify on each and every topic in
18       that document.
19                      MR. STECKLOW:        While he is doing
20              that, let's go off the record.
21                      (Discussion off the record.)
22                      MR. STECKLOW:        We're back on the
23              record.
24              Q.      Having reviewed Exhibit 1, are
25       there any topics on that -- within Exhibit 1

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1                                            Gannon
2        that you're not prepared to testify to today?
3                   A.   Well, it depends on the question
4        you ask me.        For example, I don't understand
5        what the term "non-City government" --
6        "non-City government entities," Paragraph 27,
7        on Page 4.       Okay.      Including -- the sentence
8        from Page 4, Paragraph 27, "including
9        nongovernment entities."
10                  Q.   Okay.
11                  A.   I don't know what that --
12                       (Crosstalk.)
13                  Q.   Other than that --
14                  A.   But I assume you're questioning me.
15                  Q.   Other than that one phrase, is
16       there anything else within this five-page
17       document that you're unprepared to testify to
18       today?
19                  A.   I don't think so.
20                  Q.   Did you prepare in any way for this
21       deposition?
22                  A.   I met with Ms. Robinson prior to
23       coming here.
24                  Q.   When did you start preparing?
25                  A.   A couple of days ago.             We met once

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1                                            Gannon
2        or twice.       Also met with Chief Sweet from the
3        Legal Bureau.          Chief Sweet.         S-W-E-E-T.
4                   Q.   So you communicate with
5        Ms. Robinson, you said, on two different
6        occasions?
7                   A.   Yes.
8                   Q.   And those were both within the last
9        week?
10                  A.   Yes.
11                  Q.   And were they in-person meetings or
12       phone call meetings?
13                  A.   In-person.
14                  Q.   And how long did they each last?
15       Let's start with the first one.                  How long did
16       that last?
17                  A.   Approximately four, five hours, I
18       would think.
19                  Q.   Okay.     And how much time elapsed
20       between first meeting and the second meeting?
21                  A.   A full day, so it's a Wednesday.
22                  Q.   Wednesday and then a Friday?
23                  A.   Exactly.
24                  Q.   So it was Wednesday of last week
25       and then Friday of last week?

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1                                            Gannon
2                   A.   Friday of this week.
3                   Q.   Today?
4                   A.   Today, this morning, and then
5        Wednesday -- yesterday was Thursday?
6        Wednesday.
7                   Q.   So you met with her the first time
8        this past Wednesday?
9                   A.   Correct.
10                  Q.   And then you met with her this
11       morning?
12                  A.   Correct.
13                  Q.   How long did you meet with her this
14       morning?
15                  A.   Two hours.        There may have been one
16       other time, if I recollect.                 Maybe three times
17       the most.
18                  Q.   And was the third one also an
19       in-person meeting?
20                  A.   Yes.     All the meetings were in
21       person.
22                  Q.   And was that within the last week
23       or was it prior to that?
24                  A.   It was last week, too.
25                  Q.   And how long was that meeting?

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1                                            Gannon
2                   A.   A few hours.
3                   Q.   And that one preceded the Wednesday
4        meeting?
5                   A.   Yes.
6                   Q.   While meeting with Ms. Robinson,
7        did you look at any documents or video?
8                   A.   I saw a video of an event in the
9        Bronx.
10                  Q.   Is that the only video you
11       observed?
12                  A.   Yes.
13                  Q.   Okay.     And did you look at any
14       documents?
15                  A.   I looked at -- I looked at one
16       document of a list of cases.
17                  Q.   And other than that one document
18       and list of cases, did you see any other
19       documents in preparation?
20                  A.   I looked at a detail request from
21       the Police Department.
22                  Q.   Was that for S17?
23                       (Reporter requests clarification.)
24                  Q.   September 17, 2012 incident?
25                  A.   I don't know if that was for the

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1                                             Gannon
2        anniversary date or itself.                  I don't recall at
3        the moment.
4                   Q.     Do you recall who the author of the
5        Detail Report was?
6                   A.     No.     It was a -- I think it was the
7        borough -- it was the Patrol Borough Manhattan
8        South Detail Request.
9                   Q.     Was it chief Purtell was the
10       author?
11                  A.     It was probably from Chief
12       Purtell's shop.            I don't know if he was the
13       author or not, but...
14                  Q.     Other than the list of cases and
15       the Detail Report, were there any other
16       documents you reviewed during your preparation
17       for this deposition?
18                  A.     I don't believe so.
19                  Q.     So Exhibit 1 that you just
20       reviewed, you never saw that before today?
21                  A.     I don't recall if I saw this before
22       or not.         It took me a long time to read it so
23       I don't know.
24                  Q.     Okay.     Is Chief Sweet an attorney
25       or not an attorney?

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1                                            Gannon
2                   A.    Well, he's a police chief.              He
3        works -- he works in the Legal Bureau.                     I'm
4        not sure what his title is --
5                         (Reporter requested clarification.)
6                         I'm not sure if he is -- I think
7        he's a commanding officer of the Legal Bureau
8        now.        I'm not sure.
9                   Q.    Do you know if he's an attorney?
10                  A.    I believe he is an attorney.
11                  Q.    Do you know if he communicated with
12       anyone who is not an attorney in preparation
13       for today's deposition?
14                  A.    No.
15                  Q.    No, you did not or no, you don't
16       know?
17                  A.    No.   As far as everybody I spoke
18       to, was a lawyer.
19                  Q.    And that being Chief Sweet and
20       Ms. Robinson?
21                  A.    Correct.
22                  Q.    And there was nobody else that you
23       spoke with?
24                  A.    No.
25                  Q.    When you met with Chief Sweet, did

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1                                            Gannon
2        you look at any documents or video?
3                   A.   No.
4                   Q.   How long did you meet with Chief
5        Sweet in preparation for today's deposition?
6                   A.   About two hours.
7                   Q.   In preparation for today's
8        deposition, did you review any of your own
9        documents, videos or files?
10                  A.   No.
11                  Q.   So in preparation for today's
12       deposition the only documents and videos that
13       you reviewed were the Bronx video?
14                  A.   Right.
15                  Q.   And the Detail Report and the list
16       of cases?
17                  A.   Correct.
18                  Q.   And nothing else was reviewed?
19                  A.   And maybe -- maybe this.              I don't
20       remember.       I don't remember if I reviewed this
21       Exhibit Number 1.
22                  Q.   Can you describe the efforts you
23       made to locate information relevant to this
24       deposition?
25                  A.   Repeat that.

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1                                            Gannon
2                   Q.   Can you describe the efforts you
3        made to locate information relevant to today's
4        deposition?
5                   A.   Other than speaking with
6        Ms. Robinson, that was the extent of my
7        efforts.
8                   Q.   So I'm going to go through a few
9        subtopics.       The answers are clearly going to
10       be "no," but I'm going to put it on the
11       record.
12                  A.   Sure.
13                  Q.   Okay?
14                       So did you make any efforts to
15       locate information relevant to today's
16       deposition in the possession of employees of
17       the City of New York?
18                       (Reporter requests clarification.)
19                  A.   No.
20                  Q.   Did you make any efforts to locate
21       information relevant to today's deposition in
22       the custody of police units, such as
23       precincts, borough officers, task forces, the
24       Legal Bureau, other bureaus and divisions?
25                  A.   No.

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1                                            Gannon
2                   Q.   Did you make any efforts to locate
3        information relevant to today's deposition and
4        database or electronic repositories?
5                   A.   No.
6                   Q.   Just briefly I want to go through
7        your NYPD history.           When did you attend the
8        academy?
9                   A.   I was hired January 21, 1985.
10                  Q.   And was that when you entered the
11       academy or was that when you --
12                  A.   That's when I entered the academy.
13                  Q.   Okay.     And so then you got assigned
14       your first assignment sometime in July of '85?
15                  A.   Sometime -- yeah.            Six months
16       later, so I was assigned to a --
17                       It doesn't exist anymore, but I was
18       assigned to a neighborhood stabilization unit
19       which is kind of the transitioning to a
20       precinct at that time.              That's the way they
21       used to do it.
22                  Q.   Okay.     And your rank at that point
23       was PO?
24                  A.   Police Officer.
25                  Q.   And at what point were you moved

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1                                            Gannon
2        out of the neighborhood stabilization unit
3        into a precinct?
4                   A.   That would have been in 1986.                 The
5        exact date I don't recall.
6                   Q.   And where were you moved to?
7                   A.   The 9th Precinct.
8                   Q.   How long were you at the 9th for?
9                   A.   From 1986 until 1991.
10                  Q.   And were you ever promoted to
11       sergeant?
12                  A.   I was.
13                  Q.   And when was that?
14                  A.   That was in 1991.
15                  Q.   And when you were promoted to
16       sergeant were you transferred out of the 9th?
17                  A.   Yes.
18                  Q.   And where were you transferred to?
19                  A.   13th Precinct.
20                  Q.   How long were you at the 13th for?
21                  A.   1991 to 1998.
22                  Q.   Okay.     And in 1998 were you
23       promoted again or transferred before promoted?
24                  A.   I was promoted.
25                  Q.   Promoted to lieutenant?

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1                                            Gannon
2                   A.   To lieutenant.
3                   Q.   Okay.     And where were you
4        transferred to?
5                   A.   Midtown North Precinct.
6                   Q.   And how long were you at Midtown
7        North for?
8                   A.   From '98 until 2000 -- 2002.
9                   Q.   Okay.     And where were you
10       transferred to in 2002?
11                  A.   Patrol Burough Manhattan South.
12                  Q.   Okay.     And how long were you at
13       PBMS for?
14                  A.   I was there for -- until 2004 so
15       2002 to 2004.
16                  Q.   And where were you transferred in
17       2004.
18                  A.   In 2004 I was transferred to the
19       Chief of Department's office.
20                  Q.   And who was the Chief of Department
21       at that time?
22                  A.   Chief of Department was Joseph
23       Esposito.
24                  Q.   And how long were you in the Chief
25       of Department office?

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1                                            Gannon
2                   A.   His office, until -- 2004 until
3        2014 I believe it was.              '13 or '14.       I think
4        it was 2014.
5                   Q.   And is that when Chief Esposito
6        retired and went to OEM.
7                   A.   Correct.       I stayed there a little
8        bit longer under Chief Banks, but -- but when
9        Chief Esposito became the Commissioner of
10       Emergency Management I was transferred over to
11       work for him.
12                  Q.   So is that your current assignment?
13                  A.   Correct.
14                  Q.   So you're an OEM?
15                  A.   Correct.       New York City Emergency
16       Management.
17                  Q.   So are you a member of the NYPD
18       currently?
19                  A.   I am.
20                  Q.   And what is your current rank?
21                  A.   Lieutenant.
22                  Q.   Had you ever been promoted out of
23       lieutenant?
24                  A.   Out?
25                  Q.   Were you ever promoted to captain

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1                                            Gannon
2        or --
3                   A.   No.
4                   Q.   Okay.
5                   A.   No.
6                   Q.   And who is your current supervisor?
7                   A.   My current supervisor is Inspector
8        Andrew D'Amora.          D-A-M-O-R-A.
9                   Q.   And what is your current position?
10                  A.   I'm an aide to -- I'm an aide to
11       the commissioner basically, to make it simple.
12                       Just to correct one thing.               My rank
13       officially is lieutenant special assignment,
14       but I'm a lieutenant.             It's a sub designation
15       within lieutenant.
16                       (Reporter requests clarification.)
17                  A.   Right.      It's not a captain rank.
18                  Q.   Okay.     You previously testified
19       that you looked at a list of prior incident
20       dates.
21                  A.   Correct.
22                  Q.   And one of them was in March of
23       2003, correct?
24                  A.   I didn't dedicate the dates to
25       memory.

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1                                            Gannon
2                   Q.    Okay.    There was an incident in
3        March of 2003 in front of a commercial
4        building where a company called The Carlyle
5        Group had an office.             Did you do --
6                         Are you familiar with the facts and
7        circumstances of that incident?
8                   A.    No.
9                   Q.    What did you do to prepare yourself
10       to answer questions about that incident?
11                  A.    Nothing.
12                  Q.    On March of 2003, in front of the
13       Carlyle building, there were people on two
14       sides of the sidewalk.              Do you know which
15       sidewalk the people were on, what street that
16       was?
17                  A.    No.
18                        MR. STECKLOW:         Okay.     We're going
19                  to watch some video and I am going to ask
20                  you some questions about it.
21                        THE WITNESS:        Okay.
22                        MR. STECKLOW:         Okay?     So the video
23                  is in a few different clips so we're not
24                  going to watch the full clip of each
25                  video because I just don't want to waste

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1                                            Gannon
2                   all of the time we have today.             And so
3                   we're are going to watch a few different
4                   aspects of this, and this stuff has
5                   obviously been turned over.
6                           MS. ROBINSON:       In Raganella
7                   (phonetic) 1?
8                           (Reporter requests clarification.)
9                           MS. ROBINSON:       I mean in Raganella
10                  1?   I mean in Raganella's -- 1, yes.
11                          MR. STECKLOW:       In the video.        I
12                  think it was turned over by Mr. Cooper
13                  prior to that thumb drive being turned
14                  over.
15                          MS. ROBINSON:       Okay.     And do you
16                  know what the Bates stamp is on it?
17                          MR. STECKLOW:       No, but we can
18                  figure that out later without putting our
19                  time into that now.
20                          So, Joey, just get the video up and
21                  let's show it to Lt. Gannon.
22                          MR. SHARKEY:      Sure.
23                          MR. STECKLOW:       And just as a heads
24                  up, the video is from 2003.            It was on
25                  VHS when we got it and so we had to have

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1                                             Gannon
2                   it converted to digital so it's not as
3                   smooth and clean as it would be
4                   otherwise.
5                          We are going to watch the first bit
6                   of video here and I think this is just to
7                   show the setup of what was going on that
8                   day.
9                          (Video played.)
10                         MR. STECKLOW:         So while watching
11                  this, I think the reason we're showing
12                  this and the next clip is to show that
13                  the sidewalk was not blocked.             That
14                  people were able to traverse it.
15                         The other side of the street there
16                  were people engaged in civil
17                  disobedience, which is what you're seeing
18                  now.
19                         So we are going to watch more of
20                  the other side of the street where there
21                  was not civil disobedience.
22                         (Video played.)
23                         MR. STECKLOW:         Okay.
24                         MR. SHARKEY:        One more time here.
25                         (Video played.)

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1                                            Gannon
2                   Q.   While he's checking that, in the
3        first two or three clips of video you could
4        see two sides of the street.                 On one side of
5        the street people were participating in civil
6        disobedience by sitting on the sidewalk and
7        the other side of the street people were
8        engaging in first amendment free speech by
9        standing with signs and chanting.
10                       You can't hear the chanting as
11       there is no volume, but does that accurately
12       reflect what you were seeing in the video?
13                  A.   Well, yeah, partially.             You could
14       see people standing on the sidewalk, I saw
15       people sitting down.
16                  Q.   On the sidewalk where people were
17       standing, could you see behind them there
18       was -- there were pedestrians traversing the
19       sidewalk?
20                  A.   I didn't see a lot of people going
21       back and forth.          I was focusing on the people
22       standing up on the street up and down.                     It's
23       also a very limited view of what was going on.
24       I don't know if people were crossing around
25       those folks.        I don't know what was happening

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1                                            Gannon
2        without that being -- I don't know if there
3        were --
4                        You know, people sometimes avoid
5        larger crowds of the people, you know, in
6        different ways.          So I can't tell you if people
7        were being displaced --
8                        (Reporter requests clarification.)
9                   A.   I'm sorry.        I can't -- that
10       limited -- that limited view of it, I can't
11       tell whether people were going around the
12       demonstration.         Sometimes people if they see
13       activity they'll -- they'll redirect around to
14       another area rather than going through the
15       people on the sidewalk.              So I don't know.
16       It's very tough to tell.
17                  Q.   It's tough to tell whether the
18       people there on the sidewalk standing with
19       signs were blocking pedestrian traffic?
20                  A.   Correct.
21                  Q.   And so you couldn't tell from
22       watching the video if there was ability of
23       people to traverse the sidewalk behind those
24       protesting?
25                  A.   Correct.

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1                                            Gannon
2                         MR. STECKLOW:         All right.       So if we
3                   can now watch, you'll see people -- those
4                   same people standing there now getting
5                   arrested.     I am just trying to show you a
6                   full story.     That they were standing
7                   there, they were protesting and then they
8                   got arrested.     Not this particular
9                   arrest, but --
10                        MR. SHARKEY:        This is an old file.
11                  I am just going to let this play out.
12                        (Video played.)
13                        MR. STECKLOW:         I am going to stop
14                  it right here for a second and you can
15                  see that the time is 14:31.
16                  A.    7:39?
17                  Q.    7:39:02 on the video itself.               I'm
18       asking from what you just saw and what you can
19       see here, does it look like there is
20       substantial blockage of the sidewalk?
21                  A.    Right there it looks like they're
22       blocking the sidewalk.
23                  Q.    It's sufficient to make arrests for
24       disorderly conduct?
25                  A.    I don't know what's happening

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1                                            Gannon
2        outside the -- outside the shot.                   I also
3        wasn't there so it's very hard for me to
4        determine from this one snapshot in time
5        whether -- whether there was enough probable
6        cause to make arrests here or not.
7                   Q.    We're not -- Lieutenant, we're not
8        looking at this one snapshot in time.                      We're
9        looking at the video --
10                  A.    Right.
11                  Q.    -- that is fluid.           I'm stopping it
12       here because I wanted you to tell me from what
13       you just saw, including what is stopped here,
14       whether there is substantial blockage of the
15       sidewalk to start making arrests for
16       disorderly conduct.
17                  A.    And I'll say it again.             It's
18       difficult to determine whether -- whether or
19       not they're fully blocking the sidewalk or
20       not.        What's going on outside the camera view,
21       I -- I -- it's -- you can't tell whether or
22       not.        To me there it looks like they're --
23       they're blocking the sidewalk.
24                  Q.    Okay.    And I'm not asking if
25       they're blocking the sidewalk.                   I am asking if

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1                                            Gannon
2        there is substantial blockage sufficient to
3        satisfy disorderly conduct arrests.
4                   A.   I don't know.          I don't know.        I
5        can't determine from looking at that.
6                   Q.   I'm asking you to determine from
7        the video that you can see.
8                   A.   Right.      Same answer.
9                   Q.   That you don't know?
10                  A.   Yeah.     You can't determine that
11       from looking at this.
12                       (Video played.)
13                  Q.   So from watching the video now, as
14       it's moving, you can't determine whether or
15       not there is substantial blockage sufficient
16       to satisfy disorderly conduct?
17                  A.   To me there it looks like people
18       are blocking the sidewalk.
19                  Q.   And I'm not asking if they're
20       blocking the sidewalk because that's not the
21       standard for disorderly conduct.                  Isn't that
22       correct?
23                  A.   Well, if they're -- if they're
24       obstructing pedestrian traffic on the
25       sidewalk, it could be probable cause to arrest

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1                                             Gannon
2        people for disorderly conduct.
3                   Q.   So the standard, according to the
4        City of New York, is that blocking pedestrian
5        traffic is sufficient to arrest people for
6        disorderly conduct?
7                   A.   It could be.           It could be.        This,
8        it's -- I cannot determine that from looking
9        at this -- at this video.                 What they were
10       arrested for or what the -- what the
11       conditions were that these, the folks here
12       look like they're being arrested.                    I can't
13       tell you that.
14                  Q.   And you haven't watched this video
15       before, correct?
16                  A.   No.
17                  Q.   And you didn't do anything to
18       prepare for today's deposition to discuss the
19       incidents of this date in March of 2003,
20       correct?
21                  A.   Correct.
22                  Q.   Did you look at any information
23       related to a litigation entitled Kuntsler v.
24       City of New York?
25                       (Reporter requests clarification.)

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1                                            Gannon
2                   A.   No.
3                   Q.   So you believe that the arrests
4        made there were consistent with constitutional
5        limits on police power, correct?
6                   A.   I don't know why the -- I don't
7        know what the determination was there to make
8        the arrests.          I don't know what their -- I
9        don't know what the mindset was of the
10       officers.       I don't know what the situation was
11       based on what they made the determination of
12       probable cause for arrest.                I don't know.
13                  Q.   And prior to sitting here today and
14       watching this video you did absolutely nothing
15       to prepare to answer these questions about
16       what happened that day and the police conduct,
17       correct?
18                  A.   Correct.
19                  Q.   So do you know whether New York
20       City did anything to avoid similar future
21       arrests that may be inconsistent with
22       constitutional limits on police power?
23                  A.   Repeat that.
24                  Q.   A lawsuit ensued from this case,
25       from this arrest.           Do you know that?

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1                                            Gannon
2                   A.   Yes.
3                   Q.   Do you know that because --
4                   A.   I shouldn't say that.             Because you
5        just told me that, that's why.
6                   Q.   So because I just told you that you
7        know a lawsuit ensued, but other than that you
8        did not know a lawsuit came out of this
9        arrest, correct?
10                  A.   No.    I've never seen that video
11       before, so I don't know.
12                  Q.   And you don't know anything about
13       this incident, correct?
14                  A.   No.
15                  Q.   And so you don't know how the City
16       of New York responded to this incident and the
17       police conduct of that day, correct?
18                  A.   Well, I would -- if it was a
19       lawsuit, I would assume that the New York City
20       Law Department handled the lawsuit.
21                  Q.   But I'm not asking you about how
22       they handled the lawsuit.                I'm asking about
23       the conduct of the police and how the City of
24       New York responded to the conduct of police on
25       that day.       And I'm asking if you have any

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1                                            Gannon
2        information about how the City of New York
3        responded to the conduct of the police on that
4        day.
5                   A.   I'm not sure -- I'm not sure I
6        understand the question.               I'm not sure I'm
7        following what you're trying to determine.
8                   Q.   I'm trying to determine whether or
9        not the City of New York made any response to
10       how the police respond to sidewalk protests
11       based on what happened on that day in March of
12       2003.
13                  A.   I don't know if any specific
14       changes were made as a result of those
15       arrests, no.
16                  Q.   Do you believe that those arrests
17       were consistent with the constitutional limits
18       on police power?
19                  A.   I don't know.          I don't know what
20       their mindset was to make the arrest.
21                  Q.   Do you believe in that situation,
22       from the video you were watching, that the
23       police needed to provide dispersal orders
24       before they can make arrests?
25                  A.   I don't know.          There was no audio.

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1                                             Gannon
2        I don't know if dispersal orders were given or
3        not.        I don't -- I don't know.
4                   Q.       My question was whether or not you
5        believed dispersal orders were required before
6        those arrests could be made.
7                   A.       I don't know what the circumstances
8        were.           I don't know why they arrested those
9        folks or what their determination was, why
10       they made the arrests.               So I don't know.
11                  Q.       Did the NYPD policing of this
12       sidewalk protest on that day in 2003 indicate
13       to the City of New York that the NYPD
14       procedures regarding policing of sidewalk
15       protest were sufficient to comply with
16       constitutional limits on police power?
17                           MS. ROBINSON:       Objection.      You can
18                  answer.
19                  A.       Read it to me one more time.            What
20       is your first name?
21                  Q.       Wylie.
22                  A.       Wylie.   Wylie, could you read that
23       one more time?
24                  Q.       I can.   Did NYPD policing of the
25       sidewalk protest in March of 2003 indicate to

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1                                            Gannon
2        the City of New York that the NYPD procedures
3        regarding policing of sidewalk protest were
4        sufficient to comply with constitutional
5        limits on police power?
6                   A.   I don't know.
7                   Q.   Did the City of New York review the
8        procedures utilized by the NYPD in policing
9        the sidewalk protests of April of 2003
10       regarding constitutional limits on police
11       power?
12                  A.   I don't know.
13                  Q.   Did the City of New York consider
14       whether the procedures utilized by the NYPD in
15       policing the sidewalk protest needed to be
16       reviewed based on the events of that day?
17                  A.   I don't know.
18                  Q.   Did the City of New York consider
19       whether the procedures utilized by the NYPD in
20       policing the sidewalk protest --
21                       (Reporter requests clarification.)
22                  Q.   Did the City of New York consider
23       whether the procedures utilized by the NYPD in
24       policing sidewalk protests needed to be
25       changed based on the events of that day?

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1                                            Gannon
2                   A.    I don't know.
3                   Q.    Can you identify any changes
4        implemented by the City of New York to ensure
5        the NYPD policing of sidewalk protests would
6        be consistent with constitutional limits on
7        police power as set forth by the New York
8        State Court of Appeals in the People v. Jones
9        decision that was issued in November of 2007?
10                        MS. ROBINSON:         Objection.       Calls
11                  for a legal conclusion.           You can answer.
12                  A.    I don't know.
13                  Q.    I'm asking for a "yes" or "no"
14       question (sic).          I'm not asking to identify
15       the specifics.         I'm asking whether you can.
16                  A.    Wylie --
17                  Q.    I'll repeat it to you.
18                  A.    Do you mind if I call you Wylie?
19                  Q.    I have no problem.              Thank you.
20                        Please identify any changes
21       implemented by the City of New York to ensure
22       the NYPD policing of sidewalk protest would be
23       consistent with constitutional limits on
24       police power as set forth by the New York
25       State Court of Appeals decision in People v.

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1                                            Gannon
2        Jones issued in November of 2007.
3                         MS. ROBINSON:         Objection.       Calls
4                   for a legal conclusion.           You can answer.
5                   A.    I don't know how to answer that
6        question.        I don't know.
7                   Q.    Can you identify any changes
8        implemented by the City of New York to ensure
9        the NYPD policing of sidewalk protests would
10       be consistent with constitutional limits on
11       police power as set forth by the New York
12       State Court of Appeals decision in the People
13       v. Jones opinion issued November of 2007?
14                        MS. ROBINSON:         Same objection.
15                  A.    No.
16                  Q.    Are you familiar with the People v.
17       Jones decision in 2007?
18                  A.    No.
19                        MR. STECKLOW:         Off the record for a
20                  second.
21                        (Discussion off the record.)
22                        MR. STECKLOW:         Back on the record.
23                  Q.    Can you identify any instructions
24       issued to supervisors or commanders in the
25       field to ensure that NYPD policing of sidewalk

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1                                              Gannon
2        protest during Occupy Wall Street would be
3        consistent with constitutional limits on
4        police power as set forth by the New York
5        State Court of Appeals in the People v. Jones
6        decision from November 2007?
7                         MS. ROBINSON:           Objection.       Calls
8                   for a legal conclusion.                You can answer.
9                   A.    No.
10                  Q.    Can you identify any other
11       instructions issued to members of the service
12       to ensure that NYPD policing of sidewalk
13       protest during Occupy Wall Street would be
14       consistent with the constitutional limits of
15       police power as set forth by the New York
16       State Court of Appeals decision in People v.
17       Jones issued in November of 2007?
18                        MS. ROBINSON:           Objection.       Outside
19                  the scope.     You can answer.
20                  A.    I can answer?           No.
21                  Q.    Can you identify how the City of
22       New York sought to ensure compliance with
23       constitutional limits on police power as set
24       forth by the New York State Court of Appeals
25       in the People v. Jones decision during Occupy

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1                                             Gannon
2        Wall Street?
3                         MS. ROBINSON:          Objection.      Outside
4                   the scope.
5                   A.    No.
6                         MR. STECKLOW:          Off the record for a
7                   second.
8                         (Discussion off the record.)
9                         MR. STECKLOW:          Back on the record.
10                  Q.    Can you identify whether the City
11       of New York measured compliance constitutional
12       limits on police power as set forth by the New
13       York State Court of Appeals decision in People
14       v. Jones issued in November 2007 during the
15       Occupy Wall Street movement?
16                        MS. ROBINSON:          Objection.      Outside
17                  the scope.
18                  A.    No.
19                  Q.    Can you identify whether the City
20       of New York monitored compliance with
21       constitutional limits on police power at set
22       forth by the New York State Court of Appeals
23       decision in People v. Jones during Occupy Wall
24       Street?
25                        MS. ROBINSON:          Same objection.

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1                                            Gannon
2                   A.    No, I cannot.
3                   Q.    Can you identify any instructions
4        issued to supervisors or commanders in the
5        field to ensure that NYPD policing of sidewalk
6        protest during the one-year anniversary
7        celebration of Occupy Wall Street would be
8        consistent with constitutional limits on
9        police power as set forth by the New York
10       State Court of Appeals decision in People v.
11       Jones issued in November of 2007?
12                        MS. ROBINSON:         Same objection.         You
13                  can answer.
14                  A.    No.
15                  Q.    Can you identify whether any
16       instructions issued to the members of the
17       service to ensure NYPD policing of sidewalk
18       protest during the one-year anniversary
19       celebration of Occupy Wall Street would be
20       consistent with the constitutional limits on
21       police power as set forth by the New York
22       State Court of Appeals in the People v. Jones
23       decision issued in November 2007?
24                        MS. ROBINSON:         Same objection.         You
25                  can answer.

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1                                              Gannon
2                   A.    No.
3                   Q.    Can you identify whether the City
4        of New York ensured compliance with
5        constitutional limits of police power as set
6        forth by the New York State Court of Appeals
7        decision in People v. Jones during the
8        one-year anniversary of Occupy Wall Street?
9                         MS. ROBINSON:           Same objection.
10                  A.    No.
11                  Q.    Can you identify how the City of
12       New York measured compliance with
13       constitutional limits on police power as set
14       forth by the New York State Court of Appeals
15       in the People v. Jones decision during the
16       one-year anniversary?
17                        MS. ROBINSON:           Same objection.
18                  A.    No.
19                  Q.    Can you identify whether the City
20       of New York monitored compliance with
21       constitutional limits on police power as set
22       forth by the New York State Court of Appeals
23       in the People v. Jones decision during the
24       one-year anniversary of Occupy Wall Street?
25                        MS. ROBINSON:           Same objection.

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1                                            Gannon
2                   A.    No.
3                         MR. STECKLOW:         Go off the record
4                   for a second.
5                         (Discussion off the record.)
6                         MR. STECKLOW:         Back on the record.
7                   Q.    Can you identify how or whether the
8        City of New York measured compliance with
9        constitutional limits on police power as set
10       forth by the New York State Court of Appeals
11       decision in People v. Jones during the
12       one-year anniversary of Occupy Wall Street?
13                        MS. ROBINSON:         Same objection.
14                  A.    No.
15                  Q.    What were the NYPD policies or
16       practices, if any, with respect to monitoring
17       newspaper articles, press reports, legislative
18       testimony and/or other similar types of
19       discourse for complaints about NYPD exceeding
20       constitutional limits on power?
21                        MS. ROBINSON:         Objection to form.
22                  A.    Read that to me one more time.
23                  Q.    Sure.     If you want to look at topic
24       11, I am pretty much reading that
25       word-for-word.

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1                                            Gannon
2                        What were the NYPD policies or
3        practices, if any, with respect to monitoring
4        newspapers articles, press reports,
5        legislative testimony and/or other similar
6        types of discourse for complaints about NYPD
7        exceeding constitutional limits on power?
8                        And for the record, topic 11 was
9        from Exhibit 1 that you were looking at,
10       correct?
11                  A.   Yes.     Correct.
12                       Well, the deputy commissioner for
13       public information, shorthand will be DCPI,
14       Deputy Commissioner for Public Information,
15       they on a daily basis put out newspaper
16       clippings for dissemination.                 So that --
17       that's how they would monitor, I guess, print
18       reports or stuff like.              Whether it's -- not
19       just specifically for -- the last part of your
20       question was about --
21                       Read your question again, Wylie,
22       just the last part.
23                  Q.   What were the NYPD policies or
24       practices, if any, with respect to monitoring
25       newspaper articles, press reports, legislative

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1                                            Gannon
2        testimony and/or other similar types of
3        discourse for complaints about NYPD exceeding
4        constitutional limits on power?
5                        MS. ROBINSON:          Objection to form.
6                   A.   DC -- DCPI puts out press
7        clippings, not just limited to --
8                        You read it to me three times.                 I
9        can't remember the term you're using for --
10                  Q.   Isn't it there?
11                  A.   No, I don't think so.             It just says
12       other than -- what I'm reading here in the
13       umbrella, it says, "What were the NYPD's
14       policies and practices, if any, with respect
15       to monitoring newspaper articles, press
16       reports, legislative testimony and other
17       similar types of discourse."                 Yours has --
18       your has a different quality to it, but --
19                  Q.   For complaints about NYPD exceeding
20       constitutional limits on power.
21                  A.   Right.      Mine doesn't have that last
22       section.
23                  Q.   Okay.
24                  A.   But DCPI, to put my point on it
25       anyway, our press people put out clippings,

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1                                            Gannon
2        daily clippings of newspaper reports but not
3        just specific -- pretty much anything that
4        appears in the newspaper about the Police
5        Department they'll put it out so people can
6        have one central location for, you know,
7        reading what was in the paper that day or
8        newspapers or any kind of article.                   Not just
9        limited to newspapers.
10                  Q.   It's --
11                  A.   That's -- that's basically what
12       that -- the answer to number 11 would be.
13       And, again, your question was different from
14       Exhibit 1 that I have here.                 Just a little bit
15       different.
16                  Q.   I just added on the reference of
17       what they were monitoring for.                   Monitoring the
18       complaints -- for complaints about NYPD
19       exceeding constitutional limits on power.
20                  A.   Correct.       That's the difference.
21                  Q.   And your answer --
22                       MS. ROBINSON:          Objection.
23                  Q.   Okay.     Your answer explained that
24       DCPI monitors press for mentions of the Police
25       Department and then shares that?

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1                                            Gannon
2                   A.   Correct.
3                   Q.   And who do they share that with?
4                   A.   Well, they share it with --
5        nowadays with technology the way it is, Police
6        Officers can get that information on their
7        smart phones.         It's shared on our internal
8        intranet page, the internal Police Department
9        system, and it's, you know, it's the clippings
10       of the day's, you know, reports.
11                  Q.   And if there is a complaint that's
12       found within the press clippings, is that --
13       does that trigger some sort of investigation,
14       response or anything or is it simply just part
15       of a DCPI collection of stories?
16                  A.   It could generate a complaint.                 I
17       think the DCPI's main function there is to
18       put -- collate the press reports from
19       different sources, whatever, and then put it
20       out so that everybody could be aware of what
21       was in the papers that day.                 I keep saying
22       papers, but in the general discourse I guess
23       you want to put it generically, that day.
24                  Q.   So that was their policy about how
25       they monitor.         Now I'm asking about what they

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1                                            Gannon
2        do once they find something raised.                   How do
3        they respond?         Do they respond?
4                        Do they send it to the Chief of
5        Department for an investigation?                  Do they send
6        it to IAP for an investigation?                  Does anything
7        occur upon DCPI finding mentions of complaints
8        of NYPD exceeding constitutional limits on
9        power?
10                  A.   News reports, DCPI I don't think
11       would do that.         If we got an complaint, it
12       would be -- if a complaint -- complaint about
13       something like that came into the department,
14       then depending on the nature of the complaint,
15       that would be -- that could be investigated or
16       referred to someone else depending on what the
17       nature of the complaint was.
18                       That happens pretty regularly, if
19       someone were to contact the Police Department
20       and make a complaint.             Depending on the nature
21       of the complaint then that would be handled
22       in, you know, there will be -- the complaint
23       will be forwarded and handled as required,
24       depending on what the nature of the complaint
25       was.

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1                                            Gannon
2                   Q.   Okay.     So I'm going to ask the more
3        specific question.           You may have already
4        answered it, but I want to get a more specific
5        answer.
6                        What were the NYPD policies or
7        practices, if any, with respect to responding
8        to a specific complaints about NYPD exceeding
9        constitutional limits on power from a citizen?
10                  A.   Well, if you had a complaint
11       about -- for example, if you had a complaint
12       about miscoduct, that might be -- if that came
13       into the Police Department, that might be
14       forwarded over to the Internal Affairs Bureau.
15       If you had a complaint from -- it depends on
16       the nature of the complaint.                 But if you had
17       other complaints about a Police Officer of how
18       the way things were handled, that would
19       probably come to the Chief of Department's
20       office and that might be funneled out to if it
21       was in a certain area.
22                       For example, this demonstration
23       that we just watched the video.                  This is just
24       an example, not specific to the video.                     That
25       occurred in Manhattan South.                 So that probably

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1                                            Gannon
2        the Chief of Department handled it down to --
3        in the form of communication down to Manhattan
4        South and then they would handle the
5        communication and conduct an investigation as
6        to what happened.           So it depends on the nature
7        of the complaint.
8                   Q.   Does it depend on whose making the
9        complaint?
10                  A.   No.
11                  Q.   So it's the same response whether
12       it's a complaint from a citizen, whether it's
13       from an elected official, whether it's from an
14       advocacy group?
15                  A.   Right.      Correct.        I mean it
16       doesn't -- all the complaints that come in are
17       handled in a similar fashion.
18                  Q.   So when a complaint comes in and,
19       say, it's sent directly to the commissioner --
20                  A.   Right.
21                  Q.   -- can you go through and tell me
22       how they determine what to do with it, where
23       to send it and how it's investigated, if it's
24       investigated?
25                  A.   It really greatly depends on what

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1                                            Gannon
2        the nature of the complaint is.                  So the
3        easiest one to do is if there was a report of
4        misconduct by a Police Officer, serious
5        misconduct, that will go to the Internal
6        Affairs Bureau.
7                        So if it came into the
8        Commissioner's office they would treat it as a
9        communication.         They would determine what the
10       best -- who would be the best person or unit
11       or entity to -- to look into it.                  In this
12       case, serious misconduct so we'll stick with
13       that theme, that would come down to the
14       Internal Affairs Bureau and then they would --
15       they would conduct the investigation.
16                  Q.   Can you give me the answer if the
17       complaint was about NYPD exceeding
18       constitutional limits on power regarding
19       sidewalk protest?
20                  A.   That may go to -- that could go to
21       the Legal Bureau, that could go to -- I mean
22       it really depends on if it was -- if it was --
23                       It's hard to answer with such a
24       broad topic, you know?              Something like that
25       might be -- it might go to the Legal Bureau to

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1                                            Gannon
2        take a look at.          It really depends on the
3        specificity of it.
4                   Q.   How is that determination made?                  If
5        something is sent to the commissioner --
6                   A.   Right.
7                   Q.   -- what happens at that point for a
8        determination to be made about where it goes?
9                   A.   Someone on the Commissioner's
10       staff, I can't tell you who it is, but someone
11       on the Commissioner's staff goes through these
12       letters or receipts of complaints and then
13       they, you know, they sit there and determine,
14       based on previous examples, based on their
15       experience, based on sometimes it's obvious,
16       sometimes it's less than obvious and then
17       they'll direct this communication out to the
18       people who they think would handle it best.
19                  Q.   And for complaints about NYPD
20       exceeding constitutional limits on power
21       regarding sidewalk protest, are you unsure
22       where they would go or you're saying they
23       would go to the Legal Bureau?
24                  A.   It could go to the legal bureau.
25       It could go to -- it could go to the local

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1                                            Gannon
2        command.         We'll stick with the theme here.
3        Like Patrol Bureau Manhattan South, if they
4        had -- if they had -- if the protest was
5        effected in a particular command, then they
6        may refer it to the borough commander in that
7        particular command.            It really depends on the
8        specificity of the complaint.
9                   Q.     So I'm asking for specific
10       understanding of how the NYPD responds to this
11       and I'd like to know, if you have that answer,
12       what I don't want is speculation about what
13       might happen.         I'd really like to understand
14       if a complaint comes in, a specific complaint
15       that the NYPD exceeded their constitutional
16       limits on power at a sidewalk protest, do you
17       know how that is handled, where it goes
18       specifically and how it's investigated?
19                  A.     Well, that's a broad subject
20       matter.         So it really -- it really would
21       depend.         There's no, you know, there's no box
22       to check there.          It's -- it's --
23                         Likelihood I think it would go to
24       the legal bureau, but if it mentions some
25       specific officer who did it, it may be farmed

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1                                             Gannon
2        out to the -- farmed out -- it may be
3        transferred over to the local patrol borough
4        where that officer works.                 It just depends on
5        the nature of the complaint.
6                            In this thing, you mention this
7        topic, it's rather broad.                 In this example
8        it's broad so it's hard to determine where
9        exactly it would go.
10                  Q.       Is there a policy or practice in
11       place with the NYPD in order to make that
12       determination?
13                  A.       Not to my knowledge.
14                           MR. STECKLOW:       Let's mark this as
15                  Exhibit 2.
16                               (Plaintiffs' Exhibit 2, two-page
17                        letter dated April 28, 2003, marked for
18                        identification, as of this date.)
19                  Q.       So what I've handed you are three
20       separate letters from the New York Civil
21       Liberties Union to the commissioner of the
22       NYPD.           One is dated April 28, 2003; one is
23       dated August 30, 2005; one is dated October 20
24       of 2011.           Each one of them the NYCLU makes
25       complaints about police exceeding

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1                                             Gannon
2        constitutional limits on power and makes
3        specific examples about sidewalk protest.
4                         How would each of these specific
5        complaints be handled by the NYPD?
6                   A.    Give me a second to just review
7        this.
8                         MS. ROBINSON:          Have these been
9                   disclosed?     I don't see Bates stamp
10                  numbers.
11                        MR. STECKLOW:          I believe they all
12                  have all been disclosed.
13                        MS. ROBINSON:          Can you tell me what
14                  the Bates stamp numbers are?
15                        MR. STECKLOW:          No.
16                        MS. ROBINSON:          We're not going to
17                  continue this deposition with you handing
18                  us things at the last minute.
19                        MR. STECKLOW:          I'm not handing you
20                  things at the last minute.             Yesterday I
21                  sent you video that we found and I
22                  haven't shown that yet because you made
23                  an objection to it even though the
24                  City --
25                        MS. ROBINSON:          And I'm making an

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1                                            Gannon
2                   objection to this because it's not Bates
3                   stamped.
4                           MR. STECKLOW:       If it's not Bates
5                   stamped doesn't mean it hasn't been
6                   produced.
7                           MS. ROBINSON:       Well, you don't know
8                   if it's been produced.
9                           MR. STECKLOW:       I'm telling you I
10                  believe it's all been produced.
11                          MS. ROBINSON:       Believing it and
12                  knowing it are two different things.                If
13                  it has been produced then you should
14                  provide the Bates stamp numbers.
15                          MR. STECKLOW:       I'm representing to
16                  you that I believe this has all been
17                  produced.    We are not asking specifically
18                  about -- we are not asking about how
19                  these things are handled.             I've been told
20                  that it's too general of a question so
21                  now I'm trying to be more specific.
22                          MS. ROBINSON:       I understand that,
23                  but there is no indication that these
24                  documents have been produced in this
25                  case.    To the extent --

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1                                             Gannon
2                            MR. STECKLOW:       The indication is
3                   that I'm telling you that I believe they
4                   have been produced.
5                            MS. ROBINSON:       You're saying you
6                   believe.     I want to know that you know
7                   that they have been produced.             I don't
8                   want to go through this deposition
9                   constantly seeing things that aren't
10                  marked --
11                           MR. STECKLOW:       You're going to
12                  see --
13                           MS. ROBINSON:       Such as the video.
14                           MR. STECKLOW:       You're going to see
15                  things that aren't marked.             It doesn't
16                  matter.     These things were all --
17                           MS. ROBINSON:       It does matter.
18                           MR. STECKLOW:       The things that
19                  haven't been produced, I'd let you know.
20                           MS. ROBINSON:       You don't know that
21                  this has been produced.
22                  Q.       Let's look at this third document.
23       this one has 1,000 percent been produced by
24       the City of New York.              Okay?      Rip off the
25       first page.           Let's look at the third document.

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1                                            Gannon
2                   A.   Is that the one dated October 20,
3        2011.
4                   Q.   It is.
5                   A.   Addressed to Raymond Kelly,
6        Commissioner of New York City Police
7        Department.
8                        (Witness reviewing document.)
9                   A.   I'm almost done.            Thank you.
10                  Q.   Looking at the second page, the
11       second to last paragraph, it states there that
12       quote, "On a related point we also have been
13       present at several locations (including two
14       this past weekend) where Police Officers
15       aggressively dispersed people standing
16       lawfully on city sidewalks.                 While we
17       recognize that such dispersal orders can be
18       appropriate in limited circumstances, we urge
19       the department to be more careful with such
20       orders."
21                       What, if anything, would the NYPD
22       do in response to this written complaint being
23       sent to the commissioner of New York Police
24       Department?
25                  A.   Mr. Dunn didn't specify --

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1                                             Gannon
2                         (Reporter requests clarification.)
3                   A.    The letter is written by or signed
4        by Christopher Dunn.              He's the Assistant Legal
5        Director for the New York City Liberties
6        Union.
7                         Unfortunately, he didn't state
8        where this occurred so I don't know where this
9        would have been forwarded to as -- to be -- to
10       be further looked at.              It's hard to tell.
11       Mr. Dunn didn't specifically say.
12                        So I can't answer directly what --
13       where they would have sent this because it
14       lacks specificity.
15                  Q.    Does the NYPD have any rules in
16       place about how to handle complaints such as
17       these?
18                        MS. ROBINSON:          Objection.      You can
19                  answer.
20                  A.    Yes.
21                  Q.    Are those rules written down?
22                  A.    Yes.
23                  Q.    Where are they written down?
24                  A.    The handling of communications
25       would be in the New York City -- the Police

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1                                            Gannon
2        Department's administrative guide.                    How
3        communications are handled, that would fit the
4        bill here.
5                   Q.   So a complaint is considered a
6        communication by the NYPD?
7                   A.   It would be handled as a
8        communication.         So a complaint came in.              The
9        process I described earlier.                 You mentioned if
10       a complaint came into the commissioner's
11       office, the Police Commissioner's office, how
12       would it be handled?             Somebody in the
13       commissioner's office would determine where it
14       would go and it would be sent down in the form
15       of a communication to the appropriate person.
16                  Q.   And who in the commissioner's
17       office makes that determination?
18                  A.   That I don't know.               A member of his
19       staff.
20                  Q.   What factors do they use to make a
21       determination about where it would go?
22                  A.   Based on their experience.
23       Sometimes it's obvious.              Again, serious
24       misconduct would be directed over to the
25       Internal Affairs Bureau.

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1                                             Gannon
2                            Other topics, Mr. Dunn praised our
3        response earlier on which -- which was nice of
4        him.        I don't know where he forwarded the good
5        news.           But other than that, that would be --
6        the determination would be based on the
7        experience of the person doing it and, you
8        know, like you got serious misconduct, just as
9        an example because we talked about that, that
10       would go to internal affairs.
11                  Q.       You talked about that.         I'm trying
12       to talk about sidewalk protests.
13                  A.       Right.
14                  Q.       So specifically about the sidewalk
15       protest.
16                  A.       Right.
17                  Q.       What criteria does NYPD use to
18       determine how to handle a complaint such as
19       the one we're looking at in Exhibit 2?
20                  A.       In this particular example it would
21       be difficult to forward this anywhere because
22       he doesn't say where it happened.                  So, I don't
23       know.           I mean it's...
24                  Q.       There was another date on the list
25       of dates you were shown, of August 31, 2004.

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1                                             Gannon
2        Are you familiar with the facts and
3        circumstances of an incident that occurred on
4        Fulton Street on that day during the
5        Republican National Convention?
6                   A.    I don't know.
7                   Q.    What would you need to do to find
8        whether or not you are familiar with the facts
9        and circumstances of that incident?
10                        MS. ROBINSON:          Objection.      Outside
11                  the scope.     You can answer.
12                  A.    I don't know what you're referring
13       to, so I don't know.              I don't know what you
14       could do to refresh my memory.                    I'm not
15       familiar with that.
16                  Q.    You looked at a list of dates that
17       your attorney provided you for incidents.
18                  A.    Correct.
19                  Q.    This is one of those dates.
20                  A.    Correct.
21                  Q.    August 31, 2004 at Fulton Street as
22       part of the republican National Convention,
23       did you do anything to prepare yourself for
24       today's deposition in relation to that
25       incident?

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1                                              Gannon
2                   A.      No.
3                           MS. ROBINSON:         Objection.       Outside
4                   the scope.
5                           MR. STECKLOW:         How is it outside
6                   the scope?
7                           MS. ROBINSON:         I gave him a list of
8                   settled lawsuits in which the court
9                   stated that the appropriate question to
10                  be asked about Exhibit D2 was whether the
11                  NYPD did anything in response to these
12                  filed complaints.
13                          MR. STECKLOW:         I don't agree with
14                  that.
15                          MS. ROBINSON:         Not about facts and
16                  circumstances.
17                          MR. STECKLOW:         Okay.       I don't agree
18                  with that.
19                          MS. ROBINSON:         Well, it's what --
20                  it's in the order.
21                  Q.      All right.       Did you -- so you
22       didn't review any -- any information
23       concerning the arrests of August 31, 2004 at
24       the Fulton Street area, correct?
25                  A.      No.   Correct, yes.             That's correct.

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1                                              Gannon
2        I did not review it.
3                   Q.    Do you know whether or not the
4        arrests were consistent with the
5        constitutional limits on police power?
6                         MS. ROBINSON:           Objection.      Outside
7                   the scope.
8                   A.    I don't know.
9                   Q.    Do you know what, if anything, the
10       City of New York did to avoid similar future
11       arrests?
12                  A.    I don't know.
13                  Q.    Can you identify any changes taken
14       as a result of a lawsuit that was resolved
15       regarding that arrest date?
16                  A.    Changes as a result of -- as a --
17       drafting of a lawsuit?                Sorry.
18                  Q.    Can you identify any changes taken
19       as a result of the lawsuit that was settled
20       for the people arrested that day, August 31,
21       2004, on Fulton Street?
22                  A.    I don't know.
23                  Q.    We're looking for a "yes" or "no"
24       answer here.
25                  A.    Okay.

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1                                              Gannon
2                   Q.       And it's whether you can identify
3        them.           So if you cannot it's not that I don't
4        know.           It's that you can't identify them.               So
5        that's hopefully the answer we can get to so
6        we can move through this?
7                   A.       Okay.
8                   Q.       So can you identify any changes
9        taken by the NYPD as a result of the lawsuit
10       filed for the people arrested on August 31,
11       2004?
12                  A.       I cannot identify that.
13                           THE WITNESS:        Can we go off the
14                  record for a second?
15                           MR. STECKLOW:        Sure.
16                           (Discussion off the record.)
17                           MR. STECKLOW:        The time is now
18                  11:28 and we are going to take a
19                  five-minute break.
20                           THE WITNESS:        Thank you.
21                           MR. STECKLOW:        Sure.
22                           (Recess taken.)
23                           MR. STECKLOW:        The time is now
24                  11:44.     We are still in my office at it
25                  217 Centre Street, at the continued

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1                                          Gannon
2               deposition of Lt. Gannon.
3                       All right.       We are now going to
4               mark this as Exhibit 3, please.
5                              (Plaintiffs' Exhibit 3, one-page
6                    document, marked for identification, as of
7                    this date.)
8                       MR. STECKLOW:        Off the record.
9                       (Discussion off the record.)
10              Q.      Have you seen this document before,
11       Lieutenant?
12              A.      Yes, I have.
13              Q.      And is this a document -- one of
14       the two documents that Ms. Robinson showed
15       you?
16              A.      Yes.
17                      MS. ROBINSON:        Objection.     You can
18              answer.
19              A.      Yes.
20              Q.      I am now asking you about topic
21       number 5.      Topic number 5 has, I believe, four
22       various locations on it.            The date on topic
23       number 5 is 8/31/04 and the first location is
24       Fulton Street.         And the questions I have been
25       asking you prior to the break were about the

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1                                             Gannon
2        Fulton Street address.               Are you familiar with
3        the Fulton Street arrest?
4                   A.    No.
5                   Q.    Can you testify as to whether the
6        City of New York did anything to avoid similar
7        future arrests after the Fulton Street
8        incident?
9                   A.    My understanding is that the cases
10       on this sheet, Exhibit Number 3, have all
11       been -- have all been adjudicated in some
12       fashion.        So I mean the NYPD doesn't --
13       doesn't make policy changes based on filed
14       lawsuits.
15                        So the specific Fulton Street one I
16       don't know, but I can tell as a general
17       thought that the NYPD wouldn't make policy
18       changes based on filed lawsuits.
19                  Q.    Is that your answer?
20                  A.    Yes.
21                  Q.    Just to be clear.            You recall in
22       the beginning when we went through
23       instructions we talked about the "City of New
24       York" and "NYPD" being terms that we were
25       going to use as one entity?

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1                                            Gannon
2                   A.   Yes.
3                   Q.   And so does your answer when you
4        were using the term "NYPD" follow that where
5        you are talking about both the City of New
6        York when you say the words "NYPD"?
7                   A.   Well, the City of New York here
8        is -- the Law Department for New York City --
9        New York City Law, they're the one who handled
10       all the legal cases.             The NYPD doesn't get
11       involved in litigation, other than, you know,
12       usual stuff.        Witnesses or documents or stuff
13       like that.       So what I -- when I was talking
14       about this, City of New York here would be the
15       law department handles all litigation part of
16       this for the Police Department.
17                  Q.   But you're not here on behalf of
18       the Law Department.            You're here on behalf of
19       the City of New York, correct?
20                  A.   Yes.
21                  Q.   And we went through that at the
22       beginning of this deposition, correct?
23                  A.   Correct.
24                  Q.   So I'm asking you, the answer you
25       just gave and you used the determine "NYPD"

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1                                               Gannon
2        and I want to make sure that you were using
3        that term to mean the City of New York as a
4        whole as well as the one entity, one agency
5        underneath it, the NYPD.
6                   A.      Yes.
7                           MS. ROBINSON:          Objection.    If the
8                   New York City Law Department falls under
9                   the City does one thing and the NYPD does
10                  another thing, it can't be an umbrella.
11                  He specifically has answered what the
12                  NYPD does and what the Law Department
13                  does.    You can't lump the NYPD and New
14                  York City in one answer with respect to
15                  that question.
16                  Q.      Do you want to change your answer
17       based on the objection your counsel just made?
18                          MS. ROBINSON:          He answered it.
19                          MR. STECKLOW:          He gave me a yes.
20                  I'm giving him an opportunity to change
21                  his answer if he would like to.
22                  Otherwise, the answer will stay.
23                          MS. ROBINSON:          If you could restate
24                  the question.
25                          MR. STECKLOW:          I'm talking to the

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1                                             Gannon
2                   witness, Amy.      I let you just do a very
3                   long speaking objection and didn't say
4                   anything about it.         I'm asking the
5                   witness if his answer is changing and if
6                   the answer is no, it's not changing,
7                   great.     If the answer is yes, it's
8                   changing, then I'll hear it.            If's that's
9                   not the response I'm going to get, then
10                  that's not the response I'm going to get.
11                  A.       I understand in the beginning we
12       talked about the City of New York and the
13       NYPD.           When I answered the question, NYPD I
14       was answering it as the City of New York is
15       the person who handles the Law Department.
16       The City of New York handles the litigation
17       for the filed lawsuits.               The NYPD being, you
18       know, the person -- the entity being sued.                       So
19       I split those two when I answered that
20       question.
21                  Q.       So how -- would the City of New
22       York make changes to NYPD policy based on
23       facts alleged in settled lawsuits?
24                  A.       I don't -- now I will stick with my
25       previous answer, which was the NYPD doesn't

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1                                            Gannon
2        make policy changes based on -- based on filed
3        lawsuits.       I'm not sure how else to answer the
4        question.
5                   Q.   My question was about the City of
6        New York and since you're now, I believe,
7        testifying that you're not grouping those
8        together --
9                   A.   Right.
10                  Q.   -- and you know our instructions in
11       the beginning were we were going to group
12       those together.          I'm now asking you about the
13       City of New York, not NYPD.
14                       Does the City of New York make
15       changes to NYPD policy based on facts alleged
16       in settled lawsuits?
17                  A.   No.
18                  Q.   Does the City of New York make
19       changes to NYPD practice based on facts
20       alleged in settled lawsuits?
21                  A.   The City -- well -- I don't know
22       how to answer that question.
23                       The NYPD wouldn't make changes
24       based on filed lawsuits.               I mean it would make
25       changes based on changes in the legislation,

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1                                            Gannon
2        and changes in, you know, controlling law.
3        But it wouldn't necessarily be made because of
4        filed lawsuits.
5                   Q.    Does the NYPD make changes to its
6        practices based on the facts alleged in
7        settled lawsuits?
8                   A.    I'm sorry.       Does the NYPD --
9                   Q.    -- make changes to its practices
10       based on the facts alleged in settled
11       lawsuits?
12                  A.    No.
13                  Q.    Did the NYPD policing a sidewalk
14       protest on August 31, 2004 during the Fulton
15       Street arrest indicate to the City of New York
16       that the NYPD procedures regarding police in a
17       sidewalk protest were sufficient to comply
18       with constitutional limits on police power?
19                        MS. ROBINSON:         Objection.       You can
20                  answer if you understand.
21                  A.    I don't understand.
22                  Q.    Do you know whether the NYPD
23       policing of the sidewalk protest of the Fulton
24       Street August 31, 2004 date indicated that the
25       City of New York, that the NYPD procedures

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1                                             Gannon
2        regarding policing of sidewalk protests were
3        sufficient to comply constitutional limits on
4        police power?
5                         MS. ROBINSON:          Objection.      You can
6                   answer.
7                   A.    I don't know.
8                   Q.    Do you know whether the City of New
9        York reviewed the procedures utilized by the
10       NYPD in policing the Fulton Street sidewalk
11       protest on August 31, 2004 regarding
12       constitutional limits on police power?
13                        MS. ROBINSON:          Objection.      Outside
14                  the scope.
15                  Q.    You can answer.
16                  A.    Oh.
17                        MS. ROBINSON:          Sorry.
18                  A.    I don't know.
19                  Q.    Just as an instruction.             Unless
20       your attorney says "Do not answer" --
21                  A.    Okay.
22                  Q.    The objection is for the record and
23       you can answer?
24                  A.    That's fine.         I just wasn't sure.
25                  Q.    Did the City of New York -- excuse

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1                                            Gannon
2        me.        Can you identify whether the City of New
3        York considered the procedures utilized by the
4        NYPD in policing the sidewalk protest of
5        August 31, 2004 was in need of review based on
6        those events?
7                   A.    No.
8                   Q.    Do you know whether the City of New
9        York considered whether the procedures
10       utilized by the NYPD in policing that sidewalk
11       protest of August 31, 2004 needed to be
12       changed based on the policing of that date?
13                  A.    As a result of the litigation I
14       mentioned that we don't -- we wouldn't change
15       the policies or procedures based on the filed
16       litigation.        So I don't know if that answers
17       that question previously, but it's -- it's --
18       I would say no.
19                  Q.    You are aware that a lawsuit ensued
20       regarding these arrests of August 31, 2004,
21       Fulton Street, correct?
22                  A.    Correct.
23                  Q.    Are you aware that the plaintiffs
24       won summary judgment on false arrest based on
25       the arrest on the sidewalk on August 31, 2004?

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1                                       Gannon
2               A.      I know the cases were -- I know the
3        cases were settled.        I don't know what the
4        reason was for them settling.
5               Q.      So you're not aware that a federal
6        judge issued a decision granting summary
7        judgment to the plaintiffs indicating that
8        these arrests on the sidewalk violated their
9        constitutional rights?
10              A.      No.
11              Q.      Do you know whether following the
12       issuance of this summary judgment decision if
13       the City of New York reviewed the procedures
14       utilized by the NYPD in policing the sidewalk
15       protest of August 31, 2004, regarding
16       constitutional limits on police power?
17              A.      I don't know.
18                      MR. STECKLOW:      I would like to mark
19              this as Plaintiffs' Exhibit 4.
20                            (Plaintiffs' Exhibit 4, one page
21                   depicting color copies of three photos,
22                   marked for identification, as of this date.)
23              Q.      Before we move on, one more
24       question about the August 31, Fulton Street
25       arrest.      Did the City of New York review the

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1                                             Gannon
2        procedures utilized by the NYPD in policing
3        the sidewalk protest of August 31, 2004,
4        regarding constitutional limits on police
5        power?
6                   A.   I don't know.
7                   Q.   Okay.      Now I am showing you what
8        has been marked as Plaintiffs' Exhibit 4, and
9        I'll ask you if you've ever seen these images
10       before.
11                  A.   No.
12                  Q.   Do you recognize the officer in
13       this?
14                  A.   Officer -- it's Inspector Winski.
15       W-I-N-S-K-I.
16                  Q.   Now, there are three different
17       Winski brothers who are at one point MOS,
18       correct?
19                  A.   That's correct.
20                  Q.   Which particular Winski brother is
21       this?
22                  A.   This is --
23                  Q.   It's not a trick question.
24                  A.   Ed, it's Ed Winski.              Edward.      I
25       call him inspector Winski.                 His first name is

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1                                            Gannon
2        Inspector, as far as I'm concerned.
3                        MR. STECKLOW:          Off the record.
4                        (Discussion off the record.)
5                        MR. STECKLOW:          Back on the record.
6                   Q.   This is from an incident from
7        September 20, 2011.            If you look at Exhibit 3,
8        it's listed as number 7 on Exhibit 3.                    And
9        these images came from the article that is
10       linked on Exhibit 7.             Excuse me.       On number 7
11       on Exhibit 3.
12                       Did you ever review the article
13       that's linked there?
14                  A.   No.
15                  Q.   Are you familiar with the facts and
16       circumstances of this incident?
17                  A.   No.    Although, this is another --
18       this is a case that I think was settled and I
19       think -- I think -- I think in this particular
20       case Inspector Winski was found to have used
21       some level of -- some level of force.                    But --
22       and I think that was -- I think it was settled
23       for a minor amount.
24                       But other than that, I don't know
25       too much details of the event, too many

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1                                            Gannon
2        details of the event.
3                   Q.   Was this individual arrested on the
4        sidewalk -- withdrawn.
5                        Was this individual sidewalk arrest
6        consistent with constitutional limits on
7        police power?
8                   A.   I can't tell from the pictures
9        here.
10                  Q.   Do you know whether this individual
11       sidewalk arrest was consistent with
12       constitutional limits on police power?
13                  A.   I don't know the circumstances that
14       led up to the arrest.             It's hard to tell from
15       these three still photos here.
16                  Q.   So do you know whether this
17       individual sidewalk arrest was consistent with
18       constitutional limits on police power?
19                  A.   I can't determine that based on
20       what I see here.
21                  Q.   So you don't know?
22                  A.   I don't know.          I can't determine
23       what it is.        I don't know.
24                  Q.   What, if anything, did the City of
25       New York do to avoid similar future arrests,

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1                                            Gannon
2        similar to this one?
3                   A.    Again, just to go back to my
4        previous statement about the filed -- the
5        filed lawsuits, the NYPD doesn't -- doesn't
6        necessarily change its policies based on an
7        individual -- an individual act.                  Here it's
8        clearly, you know, a one-off here with
9        Inspector Winski.
10                  Q.    Did the NYPD policing of this
11       sidewalk protest on this day indicate to the
12       City of New York that the NYPD procedures
13       regarding policing of sidewalk protest were
14       sufficient to comply with constitutional
15       limits on police power?
16                  A.    I cannot -- I cannot determine that
17       based on what I see here.
18                  Q.    Do you know whether the City of New
19       York reviewed the procedures utilized by the
20       NYPD in policing the sidewalk protest of
21       September 20, 2011, regarding constitutional
22       limits on police power?
23                  A.    I do not.
24                        MS. ROBINSON:         Just for the record,
25                  in item number 7 it's a little confusing

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1                                             Gannon
2                   because you have 9/20 -- it lists it as
3                   9/20/11, but the photographs are from a
4                   different date.        So I believe it's
5                   causing confusion.
6                   Q.       What date do you believe the
7        photographs are from?
8                            MS. ROBINSON:       September 19, 2011.
9                   Not the arrest on 9/20/2011.
10                           MR. STECKLOW:       So you believe that
11                  this arrest occurred on September 19 and
12                  not September 20?
13                           MS. ROBINSON:       I believe so.
14                           MR. STECKLOW:       I actually think
15                  that's from the --
16                           MS. ROBINSON:       And 9/20/2011, as we
17                  all know, is a different incident.
18                  Right?
19                           MR. STECKLOW:       I think there are
20                  multiple incidents on each date.              So if
21                  we're talking about a different incident,
22                  I'm talking about the incident that's
23                  reflected in this.         These are the
24                  questions I'm asking.
25                  Q.       Are you answering the questions

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1                                            Gannon
2        based on your knowledge of what happened in
3        Exhibit 4 or some other way?
4                   A.      I was basing it on I thought
5        Inspector Winski was part of a litigation and
6        there was a judgment against him at a certain
7        point.          That's what I thought these pictures
8        reflected.
9                   Q.      Okay.   Looking at the picture
10       reflected in Exhibit 4, if this in fact
11       happened on 9/19/2011, would that change any
12       of the answers you have previously given?
13                  A.      Well, it was a different -- if it
14       was a different person arrested, it would
15       certainly change the litigation part of it.                          I
16       don't know.
17                  Q.      So reflecting solely on the
18       individual in the orange hat in this image,
19       this is the individual arrest we're talking
20       about in these questions.                Okay?
21                  A.      Okay.
22                  Q.      So I'm going to review the
23       questions again.
24                  A.      Sure.
25                  Q.      Are you familiar with the facts and

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1                                            Gannon
2        circumstances of the incident that you can see
3        in the three photographs of Exhibit 4?
4                   A.   No.
5                   Q.   Do you know whether the individual
6        sidewalk arrest that's depicted in Exhibit 4
7        is consistent with the constitutional limits
8        on police power?
9                   A.   I can't determine that based on the
10       three pictures that I see here in exhibit
11       number 4.
12                  Q.   Did the NYPD policing of the
13       sidewalk protest of the day depicted in
14       Exhibit 4 indicate to the City of New York
15       that the NYPD procedures regarding policing of
16       sidewalk protests were sufficient to comply
17       with constitutional limits on police power?
18                  A.   I don't know.
19                  Q.   Did the City of New York review the
20       procedures utilized by the NYPD in policing
21       the sidewalk protest that's depicted in
22       Exhibit 4?
23                  A.   I don't know.
24                  Q.   Can you identify any review by the
25       NYPD or the City of New York of procedures it

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1                                            Gannon
2        utilized in policing sidewalk protests based
3        on the events of -- depicted in Exhibit 4?
4                   A.   Read that one more time please.
5                   Q.   Can you identify any review by the
6        City of New York and/or the NYPD of procedures
7        utilized in policing sidewalk protests based
8        on the events depicted in Exhibit 4?
9                   A.   No, but I don't -- I don't believe
10       they would necessarily conduct a review based
11       on an arrest on a sidewalk.                 A one-off with
12       Inspector Winski, I'm not sure that would
13       warrant a review, but I can't identify one.
14                  Q.   Looking back at Exhibit 3, we see
15       that number 8 has a date of September 24, 2011
16       and underneath it has approximately ten
17       different lawsuits that were filed for arrests
18       on that date.         Do you see that --
19                  A.   I do.
20                  Q.   -- in Exhibit 3?
21                  A.   I do.
22                  Q.   Are you familiar with the facts and
23       circumstances of the arrest on this date?
24                  A.   Somewhat, yes.
25                  Q.   Do you know how many arrests were

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1                                         Gannon
2        made on this date?
3               A.      I don't.
4               Q.      Do you have an idea of what --
5        withdrawn.
6                       Can you give an estimate of how
7        many arrests were made on this date?
8               A.      There's ten people listed, so I
9        would at least ten.         But I don't know.         I
10       don't know for sure.          Ten litigants here
11       listed on Exhibit 3.
12              Q.      Do you know if any of these cases
13       that were filed listed on Exhibit 3 under
14       number 8 had multiple plaintiffs involved?
15              A.      I don't know.
16                      MR. STECKLOW:       I would like to mark
17              this as Exhibit 5.
18                           (Plaintiffs' Exhibit 5, Letter dated
19                   May 5, 2014, marked for identification, as
20                   of this date.)
21                      MS. ROBINSON:       Exhibit 5 has a
22              Wiles (phonetic) Bates stamp, but not a
23              Packard Bates stamp.
24                      MR. STECKLOW:       It's been turned
25              over.    This was part of a much longer

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1                                            Gannon
2                   document that was produced by the
3                   District Attorney of New York in response
4                   to a FOIA request.        I produced the cover
5                   letter and the relevant page.
6                         MS. ROBINSON:         In Packard.
7                         MR. STECKLOW:         I produced the
8                   entire document in Packard.            For this
9                   deposition I only -- I'm trying to spare
10                  some trees so I only --
11                        MS. ROBINSON:         Understood.
12                  Q.    Looking on the second page of this
13       document, it indicates that on September 24,
14       2011, there were 91 total arrests.                   Is that
15       accurate?
16                  A.    September 24?
17                  Q.    2011.
18                  A.    Total of 91 arrests, that's
19       correct.
20                  Q.    And of those 91 arrests six of
21       those defendants warranted, correct?
22                  A.    Correct.
23                  Q.    And 85 received dispositions,
24       correct?
25                  A.    Correct.

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1                                             Gannon
2                   Q.      And of those dispositions 43 were
3        dismissed, correct?
4                   A.      I don't see that.             Where is that?
5                   Q.      Underneath it says, "Dispositions
6        include" and the last thing there says
7        "dismissal 43."
8                   A.      Oh, probably -- yes, it does.
9        43, dismissal 43.
10                  Q.      So 43 of the 85 disposed of cases
11       were dismissed outright, correct?
12                  A.      Correct.
13                  Q.      Another 36 were dismissed pursuant
14       to an adjournment and contemplation of
15       dismissal, correct?
16                  A.      Well, they weren't dismissed,
17       right?          They were ACD.
18                  Q.      What does ACD stand for?
19                  A.      Adjudicated contem- -- adjudicated
20       in contemplation for dismissal.
21                  Q.      It's adjournment --
22                  A.      Adjournment.        Thank you.
23                  Q.      -- in contemplation of dismissal?
24                  A.      Right.
25                  Q.      In six months subsequent to the

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1                                            Gannon
2        date that the ACD is entered the case is
3        dismissed and sealed.             Isn't that correct?
4                   A.     That's correct.
5                   Q.     So 43 were dismissed outright, 36
6        were dismissed and sealed six months later.
7        So that means 92 percent of the 85 arrests
8        that were disposed were dismissed within six
9        months, correct?
10                         MS. ROBINSON:        Objection.       You can
11                  answer.
12                  A.     I'll trust you on the math, but
13       that sounds right.
14                  Q.     Based on a 50 percent outright
15       dismissal rate and a 92 percent six-month
16       later dismissal rate what, if anything, did
17       the NYC do to avoid similar future arrests
18       that are inconsistent with constitutional
19       limits on police power?
20                  A.     Well, in this case why these were
21       dismissed, that's up to the District
22       Attorney's office.           It's not the -- the Police
23       Department had probable cause to make the
24       arrest.         They present the cases to the
25       District Attorney and what the District

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1                                            Gannon
2        Attorney chooses to do is certainly up to
3        them, but probable cause for the -- there were
4        probable cause to make these arrests and the
5        District Attorney chose not to -- for whatever
6        reason took the action they took.
7                   Q.   Thank you.        I'm going to ask the
8        question again, because I'm not asking you why
9        the cases were dismissed.                I'm not asking you
10       if there was probable cause.
11                       I'm asking you based on the fact
12       that 50 percent of these arrests were
13       dismissed outright and 92 were dismissed
14       within six months, what if anything did the
15       City of New York do to avoid similar future
16       arrests that are inconsistent with the
17       constitutional limits on police power?
18                  A.   I'm not sure you can draw that
19       conclusion that it's inconsistent with
20       constitutional power.             The District Attorney's
21       office has a wide range of discretion.                     So why
22       they did this, I don't know.                 Whether it
23       warrant correction, I don't think it would
24       warrant any correction by the City of New York
25       because we had probably cause to make the

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1                                            Gannon
2        arrests.
3                         (Reporter requested clarification.)
4                   A.    Because the arrests were based on
5        probable cause.
6                   Q.    Did the NYPD or City of New York
7        make any changes of police sidewalk protests
8        as a result of the arrest of 9/24/11?
9                   A.    Not that I'm aware of.
10                        MR. STECKLOW:         Off the record for a
11                  second.
12                        (Discussion off the record.)
13                        MR. STECKLOW:         Back on the record.
14                  Q.    Based on the dismissals of
15       92 percent of the arrests of that date, can
16       you identify anything New York City did to
17       avoid arrests that are inconsistent with
18       constitutional limits on police power?
19                  A.    No.
20                  Q.    Did the NYPD policing of the
21       sidewalk protest on 9/24/11 indicate to the
22       City of New York that the NYPD procedures
23       regarding policing of sidewalk protests were
24       sufficient to comply with constitutional
25       limits on police power?

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1                                            Gannon
2                   A.   Read that one again, Wylie, please.
3                   Q.   Did the NYPD policing of sidewalk
4        protests of 9/24/11 indicate to the City of
5        New York that the NYPD procedures regarding
6        policing of sidewalk protests were sufficient
7        to comply with constitutional limits on police
8        power?
9                   A.   I'm not sure how to answer that.
10       Could you rephrase that or is it -- are you
11       married to that question, my friend?
12                  Q.   I'm not married to anything at this
13       point.
14                       MR. STECKLOW:          Off the record.
15                       (Discussion off the record.)
16                       MR. STECKLOW:          Back on the record.
17                  Q.   I'm going to say it again and then
18       help me understand which part of it is
19       confusing.       Okay?
20                       Did the NYPD policing of the
21       sidewalk protest on 9/24/11 indicate to the
22       City of New York that the NYPD procedures
23       regarding the policing of sidewalk arrests
24       were sufficient to comply with constitutional
25       limits on police power?

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1                                            Gannon
2                         MS. ROBINSON:         For the record, are
3                   you referring to the cases in 8?
4                         MR. STECKLOW:         Yes.      And -- not
5                   just the cases in 8, but all the arrests
6                   of 9/24/11.    Not everybody sued.            There
7                   were 91 arrests; 6 warranted, 85 disposed
8                   and I think there were probably 30 or so
9                   plaintiffs among those.
10                  A.    I don't think -- I don't know if
11       it's responsive to the question or not.                     I
12       don't think the City of New York required any
13       changing in the way sidewalk protests were
14       handled.
15                  Q.    Can you identify any review by the
16       City of New York to the procedures utilized by
17       the NYPD in policing the sidewalk protests of
18       9/24/11?
19                  A.    Are these the cases involving
20       Inspector Bologna?
21                  Q.    Among others.
22                  A.    I know inspector -- well, what was
23       your question again?
24                  Q.    Can you identify any review by the
25       City of New York of the procedures utilized by

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1                                            Gannon
2        the NYPD in policing the sidewalk protests of
3        9/24/11?
4                   A.     With respect to Inspector Bologna,
5        Anthony Bologna, B-O-L-O-G-N-A, I know that
6        the inspector was disciplined for what
7        happened and that he wasn't indemnified and it
8        was -- again, that was kind of a one-off as
9        far as Inspector Bologna.                I don't think it
10       changed -- it didn't change policy because it
11       was kind of out of the norm of what the policy
12       would be.         So to that specific thing I would
13       say no.         The policy and procedures weren't
14       changed.         Inspector Bologna was disciplined
15       for his actions on that date.
16                         If I'm talking about the same
17       thing, that was when Inspector Bologna used
18       pepper spray on folks that were on the scene
19       that day.         As far as that's concerned, it
20       didn't change the policy because it was kind
21       of -- it was more of an issue with Inspector
22       Bologna and he was disciplined for that.                      He
23       was disciplined, he was transferred, he was
24       not indemnified.
25                  Q.     Okay.   My question didn't concern

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1                                            Gannon
2        Inspector Bologna so I'm going to go back and
3        ask it again.
4                   A.   Okay.     But you said --
5                   Q.   And you can say, look, the possible
6        answer is there was this one aspect of it that
7        was Bologna, now let's look at another aspect.
8                   A.   That's fine, but Bologna --
9                   Q.   Other than the review you just
10       mentioned regarding Inspector Bologna, can you
11       identify any review by the City of New York
12       for procedures utilized by the NYPD in
13       policing the sidewalk protest of 9/24/11?
14                  A.   Other than Inspector -- what I
15       mentioned about Inspector Bologna, no.
16                  Q.   Did the City of New York consider
17       whether the procedures utilized by the NYPD in
18       policing sidewalk protests needed to be
19       reviewed based on the events of 9/24/11, other
20       than in regards to Inspector Bologna?
21                  A.   No.
22                  Q.   Did the City of New York consider
23       whether procedures utilized by the NYPD in
24       policing sidewalk protests needed to be
25       changed based on the events of 9/24/11?

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1                                             Gannon
2                   A.    No in that, again, Inspector
3        Bologna being the theme here for my
4        perspective, his actions that day were out of
5        the norm so that individually he was, again,
6        disciplined and what I said before,
7        disciplined, transferred, and he was not
8        indemnified by the City of New York for his
9        actions that day.            So the answer would be no.
10                  Q.    Okay.     Other than what you
11       responded regarding Inspector Bologna, did the
12       City of New York consider whether the
13       procedures utilized by the NYPD in policing
14       sidewalk protests needed to be changed based
15       on the events of 9/24/11?
16                  A.    No.
17                  Q.    Now we're going to look at what is
18       on Exhibit 3 as number 11.                 Now, you
19       previously testified that you did watch video
20       of the Bronx incident, correct?
21                  A.    Correct.
22                        MR. STECKLOW:          We're going to queue
23                  up the video.      While we're doing that,
24                  I'm going to ask you to mark this as
25                  Exhibit 6.

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1                                         Gannon
2                               (Plaintiffs' Exhibit 6, letter dated
3                     January 19, 2012, marked for identification,
4                     as of this date.)
5                        MR. STECKLOW:       We are now going to
6                watch the video.        It's going to take a
7                few minutes and I am going to ask you
8                some questions.
9                        (Video played.)
10               Q.      I believe you are familiar with
11       this.
12               A.      Yes.
13                       (Video played.)
14                       MR. STECKLOW:       Let's mark this as
15               Exhibit 7.
16                              (Plaintiffs' Exhibit 7, letter dated
17                    January 1, 2012, marked for identification,
18                    as of this date.)
19                       (Video played.)
20               Q.      Are you familiar with this video?
21               A.      That's the most I've seen of it, so
22       I didn't see the whole thing previously.
23               Q.      You know there were complaints
24       filed about this incident?
25               A.      I don't know that, that there were

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1                                            Gannon
2        complaints filed about this incident.
3                   Q.     Do you know if there was an
4        investigation involving this incident?
5                   A.     There was an investigation.              Not
6        about this incident.
7                   Q.     Who undertook that investigation?
8                   A.     That I don't know.
9                   Q.     What was -- what did they do in
10       that investigation?
11                  A.     I know the outcome of the
12       investigation was that it was determined that
13       the folks were at some point blocking the
14       sidewalk with maybe furniture or some sort of
15       other chairs or some sort of maybe a table and
16       chairs.         Something like that.             So an internal
17       investigation revealed that it was -- they
18       were blocking the sidewalk at some point.
19                  Q.     So the result in the investigation
20       was that that was appropriate police conduct?
21                  A.     That they were -- that they had
22       probable cause because they were blocking the
23       sidewalk at some point.
24                  Q.     I'm not asking about some point.
25       I'm asking if --

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1                                            Gannon
2                         According to this video, there were
3        five arrests.         We saw at least two of them.
4        I'm asking if the results of the investigation
5        were that those arrests were appropriate
6        arrests.
7                   A.    I don't think the investigation
8        determined what the -- whether there was
9        probable cause or not for the arrest.                     There
10       was probable cause -- well, they arrested them
11       based on probable cause.               They can't determine
12       that from the video what happened.                   You know,
13       the video doesn't show you what happened as
14       far as them getting arrested.
15                  Q.    The video is approximately ten
16       minutes long, correct?
17                  A.    Okay.     I didn't measure it.            That's
18       fine.
19                  Q.    Approximately?
20                  A.    Approximately.
21                  Q.    And you can see a very wide
22       sidewalk with not many people on it, correct?
23                  A.    Well, at the point of the arrest
24       that we saw the video always gets there after
25       the person was arrested.               So I can't tell you

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1                                             Gannon
2        what the basis of the arrest was based on the
3        video that I saw.
4                   Q.    Did you see any pedestrians being
5        blocked in the video?
6                   A.    I did not, no.
7                   Q.    In order to make an arrest --
8        withdrawn.
9                         In order to make an appropriate
10       arrest for blocking pedestrian traffic, is it
11       required that, in fact, pedestrian traffic be
12       blocked?
13                  A.    In this case I don't know what was
14       the basis of it because it doesn't show that
15       on the video.          Every time the guy with the
16       video camera gets there it's -- the event is
17       already done.          So I can't tell you what they
18       were, you know, what the nature of it was
19       because we don't see that on the video.
20                  Q.    That wasn't my question so I'm
21       going to go back and ask the question again.
22       Listen to my question and please answer the
23       question that I'm asking.
24                        In order to effectuate a
25       constitutionally appropriate arrest for

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1                                             Gannon
2        blocking pedestrian traffic, is there a
3        requirement that, in fact, a pedestrian be
4        blocked on the sidewalk?
5                   A.    In general?         Yes.
6                   Q.    Not in general.            Specifically.      Is
7        that required?
8                   A.    To be arrested for blocking
9        pedestrian traffic do you have to block a
10       pedestrian?
11                  Q.    Yes.
12                  A.    Yes.
13                  Q.    Were you able to see any
14       pedestrians in this video being blocked, at
15       any time?
16                  A.    I did not see that in the video,
17       but that doesn't mean it didn't happen.
18                  Q.    So just to be clear.             The position
19       the City of New York is taking with regards to
20       the incident that's depicted in this video on
21       December 3, 2011 is that the police acted
22       appropriately and within constitutional
23       limits?
24                  A.    Yes.
25                  Q.    And that the arrests were

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1                                             Gannon
2        consistent with the constitutional limits of
3        police power?
4                   A.    Yes.
5                         MR. STECKLOW:          Okay.     Let's take a
6                   quick break.      The time is now 12:38.
7                         (Recess taken.)
8                         MR. STECKLOW:          The time is now 1241
9                   and we are back on the record.              We are
10                  still at my office at 217 Centre Street.
11                  Q.    We're now going to look at, on D3,
12       I believe it is going to be number 12.                     This
13       is a January 1, 2012 incident.
14                  A.    Number 12 or number 13?
15                  Q.    12 is January 1st, 2012.
16                  A.    Correct.
17                  Q.    The Peat matter?
18                  A.    Yes.
19                  Q.    Are you familiar with the facts and
20       circumstances of this incident?
21                  A.    No.
22                  Q.    I'm going to now show you what has
23       been marked as -- I'm not going to ask you to
24       read the whole thing.              Okay?      I'm just going
25       to ask you to hold this, what has been marked

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1                                             Gannon
2        as Plaintiff's 7.            We have skipped 6 and I'm
3        aware of that.          We will come back to it.
4                         So I'm not asking you to read the
5        whole thing because I don't want to spend 10
6        minutes watching you read it.                     I'm just asking
7        if you have ever seen this document before.
8                   A.    No.    The question was did I ever
9        see this before, right?
10                  Q.    Yes.     And what you are looking at,
11       which is Exhibit 7, is an unusual incident
12       report filed concerning the incident of
13       January 1, 2012, correct?
14                  A.    An unusual occurrence report.
15                  Q.    An unusual occurrence report.
16       Thank you.
17                  A.    Dated January 1, 2012.
18                  Q.    And the author, I believe, is
19       Deputy Inspector Brandon del Pozo?
20                  A.    Correct.       Del Pozo.          D-E-L
21       P-O-Z-O.
22                  Q.    Do you know whether the NYPD or the
23       City of New York undertook a review of the
24       procedures utilized by the NYPD in policing
25       the sidewalk protest of January 1, 2012

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1                                             Gannon
2        regarding constitutional limits on police
3        power?
4                   A.    I do not know.
5                   Q.    Can you identify any review by the
6        City of New York of the procedures utilized by
7        the NYPD in policing the sidewalk protest of
8        January 1, 2012, regarding constitutional
9        limits on police power?
10                  A.    No.
11                  Q.    Did the NYPD policing of that
12       sidewalk protest comply with the
13       constitutional limits on police power?
14                  A.    I don't know.
15                  Q.    Did the City of New York consider
16       whether the procedures utilized by the NYPD in
17       policing sidewalk protests needed to be
18       reviewed based on the events of that sidewalk
19       protest of January 1, 2012?
20                        MS. ROBINSON:          Objection.      Beyond
21                  the scope.
22                  Q.    You can answer.
23                  A.    I don't know.
24                  Q.    Did the City of New York consider
25       whether procedures utilized by the NYPD in

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1                                              Gannon
2        policing sidewalk protests needed to be
3        changed based on the policing of the sidewalk
4        protest of January 1, 2012?
5                            MS. ROBINSON:        Same objection.
6                   A.       I don't know.
7                   Q.       Okay.    We're going to move on to
8        number 13 on the list.                We're going to watch
9        the video in a second, but before we do I'm
10       going to ask you if you are familiar with the
11       facts and circumstances of the incident of
12       February 29, 2012, in front of Zucotti Park.
13                           MS. ROBINSON:        Objection.       Beyond
14                  the scope.       You can answer.
15                  A.       February 29th?         I don't think I
16       am familiar with the events of this day.
17       Koznar?         I don't think so.           The video may
18       refresh my memory.             Off the top of my head, I
19       don't think so.
20                           MR. STECKLOW:        Let's watch the
21                  video.     It's two minutes.
22                           (Video played.)
23                           MR. STECKLOW:        Stop it for one
24                  second.
25                  Q.       I'll tell you when we're going to

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1                                             Gannon
2        see Koznar.
3                   A.    Okay.
4                   Q.    That's not -- this is not Koznar.
5                   A.    Okay.
6                         (Video played.)
7                   Q.    This is Koznar.
8                   A.    This guy with the red?
9                   Q.    Yes.
10                        In watching this video, did you
11       identify any pedestrians that were being
12       blocked on the sidewalk?
13                  A.    No.     I couldn't.         I couldn't
14       determine very much from that video.                    It
15       doesn't really show you the whole scope of the
16       sidewalk.
17                  Q.    Could you identify any pedestrians
18       that were being blocked on the sidewalk by
19       watching this video?
20                  A.    I could not determine that from
21       this video.
22                  Q.    Did you see any pedestrians being
23       blocked on the sidewalk in this video?
24                  A.    I could not determine that at all
25       based on this video.

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1                                            Gannon
2                   Q.    I'm not asking you if you
3        determined.        I'm asking whether you saw any
4        pedestrians being blocked on the sidewalk from
5        watching this video.
6                   A.    As limited as the focus was on this
7        video, it doesn't show you the whole scope of
8        what's going on there.              I couldn't tell you if
9        there were pedestrians on the sidewalk, they
10       were not on the sidewalk.                I can't tell from
11       this video.        That's -- I mean the quality is
12       much better than the first video.                   You're
13       getting better as we go along.                   That
14       determination, I couldn't tell you.                     I could
15       not tell you.
16                  Q.    That didn't look to you to be a
17       wide open sidewalk with people lined up on one
18       side of it with the police in the middle?
19                  A.    No.
20                  Q.    What did you see?
21                  A.    That's the front of --
22                  Q.    Zucotti Park?
23                  A.    Not the front.          It's the Broadway
24       side of Zucotti.           So you couldn't even see
25       behind the folks there.              There's steps behind

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1                                             Gannon
2        that.           So you couldn't even see that in the
3        video, where the steps are.                  So I couldn't
4        tell you if there's people walking behind them
5        or not.           The shot was so tight.           I couldn't
6        tell.
7                   Q.       But the steps, are those part of
8        the sidewalk?
9                   A.       The steps are the steps.           There is
10       no steps on sidewalks.
11                  Q.       I didn't ask you if pedestrians are
12       being blocked on the steps.                  I'm asking if
13       they're being blocked on the sidewalk.
14                           You can see -- you can see the
15       entirety of the sidewalk from the curb where
16       the police vehicles were on the sidewalk where
17       the police were to the edge of the sidewalk
18       towards the steps where the civilians were.
19       And did you see any pedestrians that were
20       being blocked by those individuals, the
21       civilians?
22                  A.       I got the question.           My response is
23       that I can't tell you if there were
24       pedestrians back there because the video is so
25       tight that I can't make that determination,

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1                                            Gannon
2        whether there were or there were not.                     There
3        is no -- there is no way of telling that from
4        what I saw.
5                   Q.      And what investigation did you do
6        in preparation for today's deposition to
7        answer questions about this incident?
8                   A.      This?   Nothing.
9                   Q.      Did you believe that Mr. Koznar's
10       arrest is consistent with the constitutional
11       limits on police power?
12                  A.      I have no idea.        I can't determine
13       that from the video.
14                  Q.      Let's go back to the moment when
15       they grabbed Mr. Koznar.               You can see the
16       cameras focuses -- faces him.                    Play it there
17       and I will tell you when to stop.
18                          (Video played.)
19                          MR. STECKLOW:       Stop it.
20                  Q.      Now you can see behind them on the
21       steps.          Now you can see into the park at that
22       angle, correct?
23                  A.      You can see into the park, correct.
24                  Q.      Do you see any civilians, any
25       pedestrians, anyone being blocked by

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1                                             Gannon
2        Mr. Koznar as he stands there?
3                   A.       In this particular frame?           No.
4                   Q.       So based on the stoppage of the
5        video here and knowing that this is
6        approximately two seconds after one officer
7        pointed at him and said "Take him," what do
8        you believe is the probable cause for his
9        arrest?
10                  A.       You're making the assumption that
11       at that moment in time he did something wrong.
12       Mr. -- Mr. Koznar -- is that his name?
13       Mr. Koznar?           He could have done something
14       previously and they're basing the arrest on
15       that.           I don't know what they're basing the
16       arrest on is my point.
17                           It may not be that one particular
18       time when the -- I don't know who says that,
19       but whoever directs that he be arrested.                      It
20       doesn't necessarily have to mean that.                     One --
21       when he said that, it doesn't have to be a
22       crime committed at that point or probably an
23       offense committed at that point.
24                           (Reporter requests clarification.)
25                  A.       I said "crime."        I corrected it to

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1                                             Gannon
2        be "offense."
3                         It could have been an offense
4        committed at that moment.                 So I don't know.
5        Based on -- based on what I'm seeing in the
6        video that you showed me so far, I cannot
7        possibly tell you what the -- why Mr. Koznar
8        was arrested.
9                   Q.    Was Mr. Koznar blocking pedestrian
10       traffic from the video that you have seen?
11                  A.    In this particular frame it doesn't
12       appear to be blocking pedestrian traffic.                         I
13       don't know the gentleman to his left, I don't
14       know if he's part of the protest or not.                      I
15       don't know who he is.              I don't know whether he
16       was walking.         I don't know.           You can't
17       determine it based on the video I've seen.
18                  Q.    Well, if there's -- you're pointing
19       to one individual with a beard, correct?
20                  A.    Yes.
21                  Q.    Now, we have seen the sidewalk is
22       barely empty, other than Police Officers.                         So
23       if that individual who was not a protestor was
24       seeking to traverse that sidewalk he would
25       have absolutely no difficulty traversing that

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1                                            Gannon
2        sidewalk.         So I'm trying to understand.              Do
3        you see a basis for Mr. Koznar's arrest in the
4        video that you have watched?
5                   A.     I can't make a determination based
6        on what I've seen here to answer that question
7        directly.
8                   Q.     I'm not asking you to look outside
9        the scope.         I'm asking you looking at the
10       video, based on what you can see, do you see a
11       basis for his arrest?
12                  A.     I -- I don't know what happened off
13       camera.         I just can't -- I can't give you a
14       full answer on that.             I can't give you a
15       genuine answer on that based on what happened.
16                         I don't know what the officer saw
17       or more in particular the person who directed
18       the arrest, I don't know who that was who
19       directed the arrest saw.               I don't know what
20       the basis was for that arrest.                    I don't know
21       what the video camera showed.                    I don't feel
22       comfortable saying "yes" or "no" depending on
23       what -- based on what I've seen.
24                  Q.     Is there anything in the video that
25       shows the basis for the arrest?

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1                                            Gannon
2                   A.    No.    But I -- I just don't know
3        what happened when it was off camera.
4                   Q.    Do you know if the City of New York
5        undertook any investigation into the police
6        practices based on the arrest of Mr. Koznar?
7                   A.    I don't.
8                   Q.    Do you know if the City of New York
9        made any changes to the police practices on
10       the limits of constitutional -- withdrawn.
11                        Do you know if the City of New York
12       made any changes to police practice based on
13       the arrest of Mr. Koznar?
14                  A.    The City of New York wouldn't make
15       changes based on -- based on an individual
16       arrest.
17                  Q.    So do you know if the City of New
18       York made any changes to the police practices
19       based on this arrest?
20                  A.    I don't think so.
21                  Q.    Did the City of New York consider
22       whether the procedures utilized by the NYPD in
23       policing the sidewalk protest in front of the
24       Zucotti Park needed to be reviewed based on
25       the events in this arrest?

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1                                                Gannon
2                   A.       No.
3                   Q.       Did the City of New York consider
4        whether the procedures utilized by these
5        officers in policing the sidewalk in front of
6        the Zucotti Park needed to be changed based on
7        the events?
8                   A.       Start again.         I missed the
9        beginning of the question.
10                  Q.       Did the City of New York consider
11       whether the procedures utilized by the NYPD in
12       policing the sidewalk in front of Zucotti Park
13       needed to be changed based on this arrest?
14                  A.       No.
15                           MR. STECKLOW:          Let's go off the
16                  record.        I think this is a good time to
17                  break for lunch.
18                        (Luncheon recess taken at 12:58 p.m.)
19                                       --o0o--
20                   A F T E R N O O N                 S E S S I O N
21                            (Time noted:          1:46 p.m.)
22       L T.            D E N N I S           G A N N O N, resumed and
23                        testified as follows:
24       CONTINUED EXAMINATION
25       BY MR. STECKLOW:

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1                                             Gannon
2                            MR. STECKLOW:       The time is now
3                   1:47.     We're back on the record.            We have
4                   all the same parties here except Carrie
5                   Talansky has left the building and is no
6                   longer here.
7                   Q.       We are going to continue now and we
8        are going to look at some video that was
9        turned over by the City of New York from
10       September 17, 2012.             So can we turn that
11       around.           This, I think, it was identified as
12       LMSI video or CCTV video.                 I'm not sure
13       exactly the right term to -- but I think it's
14       the stuff that comes out from the cameras that
15       are streetlights.
16                           So this is from the morning of
17       September 17, 2012.             You can see it's about
18       7:41.           We are looking north on Broadway at the
19       intersection of Wall Street.
20                           (Video played.)
21                  Q.       What I would like to identify in
22       the video that we are watching is you can see
23       a crosswalk at the bottom of the screen.                      Is
24       that correct, Lieutenant?
25                  A.       Correct.

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1                                            Gannon
2                   Q.    And the crosswalk seems to be open,
3        correct?        There seem to be barricades on both
4        sides of Broadway, but at the crosswalk the
5        barricades are open to allow for access, I
6        guess, to cross the street.                 Is that accurate?
7                   A.    Correct.
8                   Q.    Have you seen LMSI video before?
9                   A.    No.
10                  Q.    My understanding is that they are
11       at times monitored by individuals and they may
12       not be city employees.              It is an entity that
13       exists as in relationship between big
14       corporations downtown and the City of New York
15       and NYPD.        I think LMSI stands for Lower
16       Manhattan Security Initiative.
17                  A.    Lower Manhattan Security.              Yes,
18       that's correct.          I don't know if the
19       characterization is big corporations.                     I know
20       it's a -- it's a team effort.                    I'm not sure --
21       I'm not sure who the parties are exactly, but
22       it is a group effort though.
23                  Q.    What I am trying to point out is
24       that I believe these cameras are at times
25       monitored and people can move the camera left,

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1                                             Gannon
2        move it right, focus in, pull out, things like
3        that.
4                   A.    Okay.
5                   Q.    And then I think at some point we
6        are going -- whoever is observing is going to
7        change the angle of --
8                   A.    Oh, I gotcha.
9                         (Reporter requested clarification.)
10                  Q.    -- the camera.           Whoever is
11       observing this camera is going to change the
12       angle of the camera.
13                        Right now at 7:43 a.m., would you
14       agree that the sidewalks on both the east and
15       west side of Broadway as it approaches Wall
16       Street are -- pedestrians are able to walk
17       freely on both sides?
18                  A.    Yes, I would agree with that.
19                  Q.    I'm going to move it so that it
20       goes a little faster so we can watch it in --
21       so now I've made it so the video will play a
22       little faster and I will stop it when I think
23       we get to a good time.               We can see pedestrians
24       crossing at the crosswalk, correct?
25                  A.    Yes.

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1                                              Gannon
2                         (Video played.)
3                   Q.    As we are watching it, we can see
4        that pedestrians and vehicular traffic are
5        able to move on the sidewalks and the road,
6        correct?
7                   A.    Yes.
8                   Q.    Now we start to see on the west
9        side of the street the barricade being
10       maneuvered, correct?
11                  A.    Yes.
12                  Q.    It's approximately 7:46 and 42
13       seconds.        We see Police Officers moving the
14       barricades on the east -- west side of the
15       street, correct?
16                  A.    Correct.
17                  Q.    And as I stop it again we are now
18       at 7:47 and 37 seconds.                 On the west side of
19       the street the police have now closed the
20       crosswalk by putting barricades up; is that
21       correct?
22                  A.    There is barriers there.               I would
23       like to see if anybody tries to cross that
24       way.        I just don't know if --
25                  Q.    And on the west side of the street

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1                                            Gannon
2        a line of blue shirt Police Officers seem to
3        be lining up and I believe they will, in a few
4        seconds, close off the crosswalk on the west
5        side of the street.
6                         I ask you to focus on that.
7                   A.    Sure.
8                         (Video played.)
9                   Q.    So we're now at 7:48 and although
10       the police have closed off partially the
11       crosswalk, they are allowing certain people to
12       cross street, correct?
13                  A.    People are crossing the street.
14       Whether Police Officers allowed them to cross
15       the street or not, but there are some people
16       crossing the street.             It looks like there is a
17       Police Officer getting ready to plug a hole
18       that was there.
19                  Q.    Are the police arresting anybody
20       who is crossing the street?
21                  A.    Not in the video.
22                  Q.    Okay.     So we now stopped it at
23       7:48, around 43 seconds and whoever was
24       observing this camera just moved the angle; is
25       that correct?

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1                                             Gannon
2                   A.    Correct.
3                   Q.    And so we can no longer see the
4        west side of Broadway, correct?
5                   A.    Correct.
6                   Q.    You can only see the east side of
7        Broadway, correct?
8                   A.    Correct.
9                   Q.    And on the east side of Broadway we
10       see there are now a lot of pedestrians on the
11       sidewalk, correct?
12                  A.    Yes.     I would probably describe
13       them as protestors, but there are more --
14       there are -- yeah.
15                        I would say they're protestors
16       because they have banners and stuff like that.
17       So they're protestors on the east side of
18       Broadway.
19                  Q.    And the people who you described as
20       protestors could no longer traverse down south
21       on Broadway as had been happening five minutes
22       earlier, correct?
23                  A.    Correct.       It appears they've
24       stopped.
25                        MR. STECKLOW:          And I think --

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1                                             Gannon
2                         I'm going to let it go a little bit
3                   and then we're going to watch another
4                   video to show why it was that they
5                   stopped.
6                         (Video played.)
7                   Q.    Can you tell from this video why
8        they stopped?
9                   A.    No.
10                        MR. STECKLOW:          I am going to slow
11                  it down for a second so we can see it in
12                  real time.
13                        (Video played.)
14                  Q.    I'm asking you to look down on the
15       right-hand side.           Can you see the individual
16       who looks like he's wearing a pink top?                     Now
17       you can only see his head?
18                  A.    Yeah, I see the pink top.              Yes.
19                  Q.    That is Plaintiff Bishop Packard.
20       See he was in sort of the front of the people
21       on Broadway who had stopped and were no longer
22       able to traverse south, correct?
23                  A.    Correct.
24                  Q.    And there are many people behind
25       him, correct?

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1                                             Gannon
2                   A.    Yes.
3                         MR. STECKLOW:          We can now see
4                   Bishop Packard again and you may not be
5                   able to tell from this angle, but I
6                   believe at this point he had handcuffs
7                   placed on him and he's under arrest.
8                   Let's stop it here.
9                   Q.    We are now at 7:54 and 53 seconds
10       a.m.        Can you see that?
11                  A.    Oh, yes.       Yes.
12                  Q.    Okay.     And now the camera angle has
13       moved again slightly to show a little bit
14       wider angle, correct?
15                  A.    Correct.
16                  Q.    And you can see a little bit of the
17       sidewalk on the west side of Broadway,
18       correct.
19                  A.    Correct.
20                  Q.    So I'd like you to see if by
21       observing that you can see if people are --
22       pedestrians are able to traverse the sidewalk
23       on the west side of Broadway at this point.
24                        (Video played.)
25                  Q.    The angle is now completely moved

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1                                             Gannon
2        and we can see the west side of the Broadway
3        sidewalk, correct?
4                   A.    Correct.
5                   Q.    And are you able to see if
6        pedestrians are able to move on the west side
7        of Broadway at this point?
8                   A.    It appears there are pedestrians
9        walking on the sidewalk, on the west side.
10                  Q.    And the time is 7:55 and 20
11       seconds?
12                  A.    Yes.     I'm sorry.         I didn't know
13       that was a question.              I thought it was a
14       statement.
15                  Q.    And as we're watching we can see
16       certain individuals being allowed to move
17       outside of the police area up and down in the
18       street, correct?
19                  A.    I would think that those folks are
20       unable to go up the sidewalk because of the
21       protestors on the east side of the sidewalk so
22       they're trying --
23                        (Reporter requests clarification.)
24                  A.    I would think they're trying to get
25       to work.        They're unable to walk on the

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1                                            Gannon
2        sidewalk because it's obstructed so they're
3        trying to figure out a way to get around it
4        some how to go to work.
5                   Q.    And so they're?
6                   A.    I shouldn't say go to work.               Go
7        about their business.
8                   Q.    They're being allowed to maneuver
9        outside of the police barriers in order to get
10       to work, as you stated?
11                  A.    I don't know if they're being
12       allowed to do it.           There are people clearly
13       uninterested in the sidewalk protest and
14       they're trying to go around it.                  Now whether
15       they're allowed to do it or not, they are
16       doing it.        It's just a matter of, you know, if
17       they found -- if they found a way they're
18       trying to, you know, get around this event to
19       get to where they have to go.
20                  Q.    Are the police preventing them from
21       doing this?
22                  A.    Are the police preventing the
23       other -- we'll call them the other people for
24       now.        Are they preventing them from doing it?
25       Well, all right.           To me it looks like they're,

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1                                             Gannon
2        right there, providing an access to where
3        people had to go around so they're trying to
4        let them go around the demonstration area
5        there.
6                   Q.    Okay.     I'm going to now -- now it
7        seems like the pedestrians on the east side
8        are starting to move north on the sidewalk.
9                   A.    Just let this run for a couple of
10       seconds.        Let me see.        To me it looks more
11       like a churning than a movement, but I just
12       want to --
13                        (Watching video.)
14                  A.    No.     Some people are -- yeah.             Some
15       people are walking north on the east side.
16                        (Reporter requests clarification.)
17                  A.    Some people are walking north on
18       the east sidewalk and there is still a group
19       that's in the original position there towards
20       the front of the demonstration.
21                  Q.    Right in the middle of that group
22       seems to be a white shirt Police Officer?
23                  A.    Yes.
24                  Q.    And a lot of the others seem to be
25       photographers?

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1                                            Gannon
2                   A.    To tell you the truth, I can't
3        tell.
4                   Q.    Okay.     During the preceding five or
5        so minutes that were depicted here was that
6        crosswalk that we talked about earlier open or
7        closed to pedestrian traffic?
8                   A.    It appeared to be closed to
9        pedestrian traffic, that crosswalk.
10                  Q.    Now I would like us to watch a
11       video so we can see what is happening
12       underneath that's -- obviously the angle is
13       blocked by a building from what's below the
14       camera level.         So I think we do have an angle
15       from a Taru video.
16                        (Reporter requested clarification.)
17                        MR. STECKLOW:         From a Taru video.
18                  T-A-R-U.   We are going to take a quick
19                  break and go off the record.
20                        (Discussion off the record.).
21                        MR. STECKLOW:         The time is now 2:03
22                  and we are back on the record.
23                        Now I'm going to have us watch
24                  another video that was from approximately
25                  the same exact time, but from a different

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1                                             Gannon
2                   angle, at the same location.
3                            (Video played.)
4                   Q.       So now we're looking -- I believe
5        we're looking north on Broadway at the
6        intersection of Wall Street from underneath
7        the scaffolding that was being blocked.
8                   A.       Okay.
9                   Q.       And what is it you can see as
10       you're looking more?
11                  A.       I see the sidewalk full of
12       protestors.           I see a police presence in front
13       of them and I see some folks with cameras to
14       the left of -- to my left, which would be to
15       the west of the sidewalk.
16                           MR. STECKLOW:       So since the police
17                  present is in front of the protestors, I
18                  want you to watch it a little bit and let
19                  me know if you believe that is the police
20                  presence that stopped the protestors from
21                  moving further south or east at this
22                  point.
23                           (Video played.)
24                  Q.       So the camera angle has just panned
25       down a little bit and I think we can actually

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1                                             Gannon
2        see the corner of Wall Street for a second,
3        and we see barriers there with Police Officers
4        behind it.        Is that accurate?
5                   A.    Yes.
6                   Q.    And for about 10 feet from that
7        corner heading north it's all Police Officers.
8        Is that accurate?
9                   A.    Yes.     Well, police officers
10       generically speaking, right?                  Not the --
11                  Q.    Not the ranked --
12                  A.    Right.
13                  Q.    -- police officer.               MOS.
14                  A.    Yes.     Correct.
15                  Q.    These are all members of the
16       service, correct?
17                  A.    That's better, yes.
18                  Q.    So the protestors aren't actually
19       at the barrier of Wall Street.                     They are, you
20       know, some 10 or more feet beyond that as they
21       were heading south for anyone to get to that
22       particular intersection because of the police
23       presence.        That's what seems to be depicted
24       here.
25                  A.    Well, I don't know why they stopped

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1                                               Gannon
2        there.          Whether they stopped and the police
3        came in in front of them afterwards, because
4        the previous shot they showed us we had the
5        scaffold in the way.
6                           Here the Police Officers at the
7        lower part are behind barriers that would --
8        that are at the mouth of or the -- not the
9        mouth.          The street of Wall Street there.               Is
10       that -- did I make that clear?
11                  Q.      Yes.
12                  A.      So -- but -- so I can't tell you
13       whether the Police Department stopped them or
14       did they stop there because it's Wall Street.
15       I don't know.             I couldn't tell from the
16       previous video and this video here.                    We're
17       there, but I don't know if we're there because
18       they stopped or we stopped them.                    I don't
19       know.
20                          (Video played.)
21                  Q.      From watching the video, it doesn't
22       seem the police are allowing people to
23       continue south on Broadway.                    I have stopped
24       the video now at 1:08, time.                    I'm asking you
25       if it seems like the people cannot traverse

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1                                            Gannon
2        south because of the police presence.
3                   A.    I'm going to break it up into two
4        groups here.         The protestors and regular
5        people or non-protestors.                Let me put it that
6        way.        Before, the previous video, there were
7        people traveling south that were allowed to
8        travel south.         See, these demonstrations we
9        try to -- we, NYPD, try to strike a balance as
10       to people who want to protest, that's great,
11       and people who want nothing to do with the
12       protest and just want to get to work.                     It's
13       8 o'clock in the morning.                I use "work"
14       generically.         People want to go about their
15       business or get to where they have to go.
16                        Here it seems like the protest
17       group has stopped at the -- at the -- at Wall
18       Street while other folks who may have been
19       walking south not really paying attention to
20       who they're with have been bleeding out and
21       walking south which we saw in the previous
22       video, and continue to walk south down to --
23       south of Wall Street.
24                        There are also people coming up
25       walking north on Broadway and that were kind

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1                                             Gannon
2        of cutting over and going across to the west
3        side of Broadway.            That's -- that's how I
4        would describe what I see.
5                   Q.    Are you familiar with the
6        allegations of this lawsuit?
7                   A.    I don't believe so, no.
8                   Q.    This is the lawsuit that you are
9        here to testify about, correct?
10                  A.    Packard.       This is Packard; is that
11       right.
12                  Q.    Yes.     And so you're unfamiliar with
13       the factual basis of whether or not the
14       protestors claim the police blocked their path
15       at that point to further go east, west or
16       south?
17                  A.    I'm not familiar with that.               That's
18       correct.
19                  Q.    And from watching this you can't
20       count 20 or more Police Officers between the
21       protestors and Wall Street and understand that
22       the protestors had an inability of proceeding
23       any further south than they already were
24       because there are possibly at least 20
25       officers in this shot between them -- between

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1                                              Gannon
2        the protestors and Wall Street?
3                   A.      Well, you asked me previously, did
4        the Police Department stop them from traveling
5        south.          I told you I couldn't make that
6        determination because I don't know whether
7        they stopped themselves and then we came in
8        front of them or -- or we stopped them from
9        traveling south.            I couldn't tell you because
10       you couldn't determine that from the video.
11                          Now, they're not traveling south
12       and we are in front of them.                   So we may be
13       preventing them from going further south.
14                  Q.      Have you spoken to any of the
15       officers that were present on the scene before
16       today's deposition in order to prepare for
17       these questions?
18                  A.      No.
19                  Q.      Do you know who the highest ranking
20       officer was on this scene?
21                  A.      No.
22                  Q.      Do you recognize the individual I'm
23       pointing to now who is in a white shirt and is
24       wearing what I have been told is the spaghetti
25       on the -- is that the right term?

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1                                             Gannon
2                   A.    Scrambled eggs.
3                   Q.    -- scrambled eggs that indicates it
4        is, I believe, a high ranking officer?
5                   A.    I believe that's Chief Harry Wedin.
6        W-E-D-I-N.
7                   Q.    Did you see Chief Purtell in this
8        video at some point?
9                   A.    I haven't seen Chief Purtell yet.
10                        MR. STECKLOW:          Off the record.
11                        (Discussion off the record.)
12                        MR. STECKLOW:          Back on the record.
13                  Q.    At this point the police are not
14       allowing the protestors to move south.                       In the
15       video at this point we're watching.                    The
16       police are not allowing the protestors to move
17       further south.
18                  A.    Right.
19                  Q.    Is that accurate?
20                  A.    Yes.
21                  Q.    Do you have any understanding as to
22       why they would stop the protestors from
23       proceeding south?
24                  A.    I do not.
25                  Q.    Do you have a reason to understand

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1                                            Gannon
2        why they would not allow them to proceed east
3        on Wall Street?
4                   A.    No, I do not.
5                   Q.    Do you --
6                   A.    I'm sorry.       Let me back up.          I had
7        my direction wrong.            I thought you were
8        talking about crossing -- crossing Broadway to
9        go -- that would be west, not east.
10                        (Reporter requested clarification.)
11                  A.    I misunderstood what he said.                I
12       thought he was talking about going west on --
13       going west to cross the street which is, upon
14       further consideration, was not what he meant.
15       He meant the opposite.              He said going east,
16       east on Wall Street.
17                  Q.    I'm going to withdraw it and ask
18       the question again for a clean record.
19                  A.    Okay.
20                  Q.    You have already testified that at
21       this point in the video the officers are not
22       allowing the protestors to proceed south on
23       Broadway past Wall Street, correct?
24                  A.    Correct.
25                  Q.    Are the Police Officers allowing

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1                                              Gannon
2        them to go west in the crosswalk to the other
3        side of the sidewalk on Broadway?
4                   A.     It appears no.
5                   Q.     Are the police officers allowing
6        them to go east into Wall Street?
7                   A.     No.
8                   Q.     Do you have a reason -- Do you
9        understand why they couldn't allow the
10       protestors to go south?
11                  A.     No.
12                  Q.     Do you have a reason or an
13       understanding as to why the officers couldn't
14       let the protestors cross Broadway and go to
15       the west side of the sidewalk?
16                  A.     No.
17                  Q.     Do you have a reason or an
18       understanding as to why --
19                  A.     Other than -- let me clarify that.
20       Other than a large group like that.                     You have
21       traffic coming south on -- south on Broadway,
22       so to let the large group cross may impede
23       traffic for more than the normal cycle of
24       lights.         So that would -- it would impact
25       traffic coming south on Broadway if you let

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1                                            Gannon
2        them go west on -- go west across Broadway.
3                   Q.      How many lanes of traffic are on
4        Broadway around Wall Street?
5                   A.      I want to say it's four.            One, two,
6        three, four.          I believe it's four.
7                   Q.      And how many were open to vehicular
8        traffic at this point from the video?
9                   A.      From -- based on the previous one,
10       I believe traffic was flowing south on
11       Broadway.          I don't think it had stopped.              I
12       think it was flowing.
13                  Q.      And how many lanes was traffic
14       flowing in?
15                  A.      I saw at least two.           Because I saw
16       traffic.          I saw a big bus.        The previous
17       video, not this video, but the previous but --
18       it was a bus and there was other folks in two
19       lanes.          So -- that was from the previous
20       video.
21                  Q.      Okay.   I believe, and we'll get
22       back to that previous video.                 I believe that
23       there was one lane of traffic open.                    I think
24       the second lane of traffic had a line of
25       police vehicles in it?

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1                                            Gannon
2                   A.      Could be.
3                   Q.      And so my question --
4                   A.      At some point -- well, at some
5        point.          Don't forget.     We watched that video
6        from -- we watched that video from the --
7                   Q.      We watched about 7 to 10 minutes of
8        the video?
9                   A.      And early on it was, you know,
10       traffic was flowing south on Broadway.
11                          MR. STECKLOW:       Put the other video
12                  back on.
13                  Q.      While we are doing that, let me ask
14       you.        Do you have a reason as to why the
15       officers wouldn't allow the protestors to turn
16       east onto Wall Street?
17                  A.      I would think because the New York
18       Stock Exchange is east on Broadway -- east on
19       Wall Street.          So on this day, I believe --
20       this is the anniversary date, correct?                     Yeah.
21       So I think the anniversary date there was --
22       the protestors had made some statements as
23       they wanted to shut down Wall Street.                     So to
24       let them go down Wall Street would create a
25       problem.

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1                                            Gannon
2                   Q.    So the reason they weren't allowing
3        them to turn east was to avoid creating a
4        problem?
5                         MS. ROBINSON:         Objection.       You can
6                   answer.
7                   A.    Avoiding -- avoiding shutting down
8        the stock exchange.
9                   Q.    And there are further intersections
10       between Wall Street and Broadway and the
11       entrance to the stock exchange, are there not?
12                  A.    Say that again.
13                  Q.    There are further intersections
14       after Broadway and Wall Street before you
15       would get to the entrance of the stock
16       exchange, correct?
17                  A.    No.    If you go east on Broadway --
18       east from Broadway down -- from Broadway east?
19                  Q.    Uh-huh.
20                  A.    No, no.      The stock exchange is --
21                  Q.    Isn't it the federal building there
22       with George Washington in front?
23                  A.    Yeah, but that's -- if you get
24       to -- I'm sorry.           Finish your question.
25                  Q.    And isn't the stock exchange

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1                                             Gannon
2        cater-corner to that statue?
3                   A.       It's opposite.        Cater-corner it's
4        on the opposite corner, but there's no --
5        there's no intersections between Broadway and
6        I don't remember what that -- where Federal
7        Hall is there is a street there, but you've
8        already passed the exchange on the right-hand
9        side.           If you hit Federal Hall -- if you reach
10       Federal Hall, the stock exchange is on the
11       right-hand side.
12                  Q.       I believe --
13                  A.       I believe that's correct.
14                  Q.       I believe the entrance to the stock
15       exchange is on Broad Street, not on Wall
16       Street and that you actually have to turn from
17       Wall Street onto Broad to get to the entrance.
18       But I think that's far afield at this point.
19                  A.       But there's no -- there's no
20       intersection.           I think that was your point.
21                  Q.       The intersection is Broad Street.
22       Back onto this video.              How many lanes of
23       traffic are open to the vehicular traffic at
24       the intersection of Wall and Broadway at
25       7:45 a.m.?

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1                                            Gannon
2                   A.      Well, there is the bus lane on the
3        west side of Broadway and there is a white bus
4        there.          I don't know what the make is there,
5        in the center lane of traffic.
6                           So I see 2.      And there is a parked
7        car in the east most lane, and that's -- that
8        appears to be double marked.
9                   Q.      So you see two lanes of traffic at
10       7:46 a.m.?
11                  A.      Right.   The bus lane is open, which
12       is the west and most lane and the middle lane
13       is open, which has traffic in it.
14                  Q.      And the double parked car you
15       believe that's a NYPD vehicle?
16                  A.      I don't know.       It could be a black
17       town car.          I don't know.
18                  Q.      So you believe that as the police
19       are setting up barriers here they would allow
20       a black town car to double park there?
21                  A.      (No response.)
22                  Q.      Now that you see --
23                  A.      I don't mean to laugh.           I'm sorry.
24       I'm sorry.          Let's go off the record for a
25       second.          I don't want to be a wise crack.

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1                                             Gannon
2                   Q.       There is a question pending.
3                   A.       Okay.
4                   Q.       Do you believe the NYPD would allow
5        a vehicle to double park there at this moment
6        in time?
7                   A.       In -- in Manhattan?           A black car
8        could pull over anywhere and drop somebody off
9        even though the Police Officer doesn't want
10       them to park there.             It would be anybody.            I
11       could be somebody picking up, somebody
12       dropping off, somebody momentarily -- or it
13       could be a police car parked there.
14                           But my point, the reason I was
15       laughing is because I've been in Manhattan so
16       long.           People disregard anything and they just
17       want to stop and drop their person off.                     That
18       could be a number of different things.
19                  Q.       Now that the bus has moved past the
20       image, can you see that, in fact, the bus lane
21       is not open but there are Police Officers
22       there with barricades blocking the bus lane?
23                  A.       What I see is there's people --
24       there's Police Officers moving barriers, but
25       the bus lane is not blocked.                  Don't forget,

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1                                               Gannon
2        bus lanes aren't not occupied with anything.
3        Bus lanes are open so that buses can drive
4        through them.             So it's not like -- it's not
5        like there's -- there's nobody excluding buses
6        there.          That's a lane of traffic open for
7        southbound buses.
8                   Q.      7:44 the bus lane is open?
9                   A.      You see the barriers are on the
10       sidewalk?
11                  Q.      Yes?
12                  A.      So the bus lane is open for
13       traffic.
14                  Q.      At this point what we were watching
15       is further up after the big bus comes down and
16       at that point you can't see what's going on in
17       the bus lane and here you see what I believe
18       is an NYPD barrier truck.
19                          Do you see the lights on top of
20       that truck that's stopped in the bus lane?
21                  A.      Yes.
22                  Q.      So --
23                  A.      That's not --
24                  Q.      Did you see the black car pull up
25       just now and move up slightly.

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1                                                Gannon
2                   A.       I'm sorry.        I was looking at the
3        barrier truck.              The black car that's double
4        parked on the east side?
5                   Q.       Uh-huh.
6                   A.       I wasn't -- if you could rewind it
7        for a second.              I wasn't watching.        I was
8        watching further north.                  I was watching the
9        barrier truck.
10                  Q.       At this point there is only one
11       lane of traffic proceeding south on Broadway,
12       correct?
13                  A.       There's -- no.           Incorrect.    There
14       is -- there is only one lane of traffic that
15       has vehicles in it.                The bus lane is open for
16       southbound traffic.                There is two lanes there.
17       There is no obstruction in the southbound
18       lane.           The barrier truck is a full block.
19                  Q.       Now that the bus has moved and you
20       can see what was in the bus lane, does it look
21       like there is an obstruction there?
22                  A.       Yes.     There's -- officers are
23       moving the metal barrier in place.                    That's not
24       put there to block pedestrian -- block
25       vehicular traffic.               Now if that stays there

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1                                            Gannon
2        that's a different -- if you can show that to
3        me.        But right now when you showed me that
4        video the bus lane was open.                 Unoccupied --
5        the bus lane was open, but it was unoccupied
6        with traffic.
7                   Q.    How many lanes of traffic are open
8        at this point at 7:46 and 40 seconds?
9                   A.    There's traffic running in the
10       middle land.         Let's see what they do with
11       the -- see they're putting the barriers on the
12       sidewalk.        They're not preventing traffic from
13       going down the bus lane.               They're putting the
14       barriers together to be on the curb line.
15                  Q.    At that moment in time they were
16       preventing vehicles from using the bus lane,
17       correct?        That moment in time?
18                  A.    That moment in time they were
19       putting the barriers together.                   For a moment
20       of time they were in the sidewalk to put those
21       things together.           Otherwise -- but we're not
22       actively blocking the bus lane there.                     You
23       know what I'm saying?             I mean it's a fine
24       point, but we're not -- if those barriers were
25       in the middle of the street right now I would

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1                                             Gannon
2        agree with your point that the bus lane was
3        closed, but the bus lane now is wide open.
4        See there?        I mean -- ooh, except for those
5        people about to get hit with the car.
6                         (Reporter requested clarification.)
7                   A.    No.    That was a wise comment.
8        People about to get hit with the car.
9                   Q.    So at this point how many lanes of
10       traffic are open to vehicles?
11                  A.    Two.
12                  Q.    How many lanes of traffic are being
13       used by vehicles?
14                  A.    The buses in the center.              The bus
15       at the top of the screen, that looks like
16       there's a bus in the center lane.                   At the top
17       of the screen, which would be north of --
18       north of Wall Street.              I forget what that
19       block is, that cross street.
20                  Q.    The reason we're looking at this is
21       previously you said the reason they
22       couldn't -- one of the reasons why they might
23       not have allowed protestors to cross the
24       street is because it would obstruct vehicular
25       traffic.

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1                                            Gannon
2                   A.    Correct.
3                   Q.    Isn't the NYPD, in the way that
4        they are handling the vehicular traffic,
5        they're early obstructing it?
6                   A.    No.
7                   Q.    So this is how Broadway traffic
8        looks on a normal basis?
9                   A.    The traffic -- well, I don't know
10       what it looks like on a normal basis.                     That's
11       day to day.        But traffic here, there's a bus
12       flowing south right now.               Traffic is open on
13       Broadway.
14                  Q.    There's one bus flowing south.                We
15       see no other vehicular traffic --
16                  A.    There's a -- there's a --
17                  Q.    I only see a van coming down.
18                  A.    Right.
19                  Q.    So is the point being -- your point
20       that they couldn't possibly allow people to
21       use the crosswalk because it would affect
22       vehicular track, on this day vehicular traffic
23       was already being affected.                 Isn't that
24       correct?
25                  A.    No.    I said they wouldn't be

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1                                            Gannon
2        allowed-- if you -- if they made the west --
3        westbound turn onto across Broadway, that
4        would impact southbound vehicular traffic,
5        which is clearly the case.
6                   Q.    But isn't southbound vehicular
7        traffic already being impacted by the police
8        conduct on that day?
9                   A.    Momentarily at best, but traffic
10       was not stopped.           It was flowing.
11                  Q.    What directives, procedures or
12       changes were made as a result of public or
13       press response to the policing after the
14       Republican National Convention in 2004?
15                  A.    Why don't you do me a favor.               I
16       need to keep saying repeat this, but we just
17       switched gears from today to 2004.                   Just read
18       that again, please.
19                  Q.    What directives, procedures or
20       changes were made as a result of public or
21       press response to the policing at the protest
22       of the Republican National Convention in 2004?
23                  A.    Oh, they were-- there were several
24       changes from -- as a result of the Republican
25       National Convention.             We used improvements to

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1                                            Gannon
2        our mass arrest processing center, which is --
3        Ill refer to it as MAPC from now on, M-A-P-C.
4        MAPC, there were up upgrades.                    They added more
5        computer terminals to process booking.                     They
6        added live scan machines, which are
7        fingerprint machines.
8                         We had a -- when we're doing mass
9        arrests, we took Polaroid photos of the
10       arrested individuals so that the arresting
11       officers could track -- could keep better
12       track of or help identify, I should say, the
13       people that they were arresting.                    Especially
14       in mass arrests where they're processing
15       multiple arrests.
16                        Oh, we -- our folks in the Legal
17       Bureau, we put a representative in MAPC and we
18       had -- we had a greater amount of attorneys in
19       the field to help, as a resource, to help the
20       incident commanders in the field.
21                  Q.    Can you identify any other changes
22       made as a result of the Republican National
23       Convention policing?
24                  A.    That's all that comes to mind right
25       now.

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1                                            Gannon
2                   Q.    Were there any changes made to the
3        policing of sidewalk protests as a result of
4        public or press response to the RNC policing?
5                   A.    No.    We -- the NYPD or the City
6        doesn't really make changes based on press
7        releases or press inquiries.                 So I don't think
8        anything was ranged as a result of those
9        issues.
10                  Q.    Were there any changes made to the
11       policing of sidewalk protests as a result of
12       RNC litigation?
13                  A.    The City and the Department don't
14       make changes based on filed cases and things
15       like that.        Filed -- filed lawsuits.
16                  Q.    Were any changes made in regards to
17       the policing of sidewalk protest as a result
18       of legal determinations made in RNC
19       litigation?
20                  A.    I don't think so, no.
21                  Q.    Did the City of New York consider
22       the policing of sidewalk protests during the
23       Republican National Convention problematic?
24                  A.    Did the -- say that again.
25                  Q.    Did the City of New York consider

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1                                             Gannon
2        the policing of sidewalk protests during the
3        Republican National Convention in 2004
4        problematic?
5                         MS. ROBINSON:          Objection.      You can
6                   answer.
7                   A.    Sidewalk demonstrations, was it
8        problematic?           I don't know how to answer that
9        one.        I don't know.       If you give me --
10                  Q.    Did the City of New York believe
11       that they exceeded the limits of
12       constitutional power on policing during the
13       policing of sidewalk protest of the Republican
14       National Convention in 2004?
15                  A.    I'm not understanding the question.
16                        MR. STECKLOW:          Read back not the
17                  last question, but the one before,
18                  please.
19                        (Record read.)
20                  A.    I would say no.
21                  Q.    Did the policing of sidewalk
22       protests change in any way from the Republican
23       National Convention to Occupy Wall Street?
24                  A.    No.
25                  Q.    What steps did the city take to

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1                                            Gannon
2        provide members of service with dispersal
3        orders in any matter including via finest
4        messages, roll call, muster point, handouts or
5        any other steps taken to ensure compliance by
6        members of service on the scene with the
7        issuance of those dispersal orders?
8                   A.    Well, there was -- there was
9        training for, I believe, the disorder control
10       unit did training ahead of the protests so
11       that there was an understanding that when you
12       read the -- read the warnings through a, say
13       for example, a bull horn that you would in the
14       rear of the group assembled you would put
15       somebody in the rear of the group so that when
16       you made the announcement with the warnings
17       you would get an acknowledgment from the
18       officer or whoever was posted in the rear of
19       the group that the message -- the warnings
20       could be heard in the back so that everybody
21       was able to at least hearing the warnings,
22       prior to -- dispersal warnings.
23                  Q.    Were written dispersal orders
24       issued?
25                  A.    Were they issued?

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1                                              Gannon
2                   Q.     Yes.
3                   A.     Well, I don't know if they were
4        issued.         They were -- they were on hand.               The
5        task forces have this -- they do this
6        protest-related issues a lot.
7                          The task force have the dispersal
8        orders.         Legal, our legal representatives have
9        the dispersal orders.               So it's -- the people
10       who would be reading the dispersal orders had
11       the dispersal orders or had access to the
12       dispersal orders.             They weren't issued to
13       everybody but, you know, not everybody is
14       going to read them.
15                  Q.     Who provided the written dispersal
16       orders?
17                  A.     Well, I'm sure legal, our Legal
18       Bureau had the dispersal orders and I know
19       disorder control through their training had
20       the dispersal orders.
21                  Q.     Who wrote the language in the
22       dispersal orders?
23                  A.     Who wrote it?          I don't know.
24                  Q.     How many of these cards were
25       issued?

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1                                            Gannon
2                   A.    No.    It's a -- the ones I've seen
3        are -- it's a sheet of paper with the -- with
4        the -- so it's -- how many were issued?                     I
5        don't know.
6                   Q.    How were they distributed?
7                   A.    I don't know.
8                   Q.    What steps, if any, were taken to
9        ensure that the dispersal orders that were
10       issued or distributed were read from?
11                  A.    How were they --
12                  Q.    How did they ensure that these were
13       actually the orders that were read?
14                  A.    Well, like I said before, the folks
15       who read those at that moment in time when
16       they're going to read the dispersal orders,
17       they're the folks that do this kind of stuff
18       for us at the Police Department all the time.
19       I don't know, you know, I don't know how we
20       assure that it was the one dispersal order --
21                        (Reporter requested clarification.)
22                  A.    The orders are used all the time so
23       I -- it's not like there is varying copies of
24       it.        So I mean the people who have it have the
25       proper copy because they do this kind of stuff

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1                                             Gannon
2        all the time.
3                            MR. STECKLOW:       Let's take a quick
4                   break.     The time is now 2:33 and we are
5                   requesting to take a quick break.
6                            (Recess taken.)
7                            MR. STECKLOW:       The time is now 2:39
8                   and we are back on the record.              We are
9                   still at my office at 217 Centre Street.
10                  Q.       Lieutenant, when there is a crowd
11       and an order to disperse is given, how much
12       time does the NYPD believe should be provided
13       to the individuals to disperse?
14                  A.       A reasonable amount of time.            The
15       exact time I don't know, but it -- it's -- we
16       read the warnings intentionally to give people
17       an opportunity to leave.                The more people that
18       leave the better it is when the warnings are
19       given.          But, you know, there is a sense of
20       fairness to it that it should be a reasonable
21       amount of time.
22                  Q.       And so is there a specific amount
23       of time required in order to be
24       constitutionally compliant?
25                  A.       I don't know.       I don't know the

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1                                            Gannon
2        answer to that question.
3                   Q.    How does the NYPD monitor
4        compliance with giving sufficient amount of
5        time for people to leave?
6                   A.    Well, supervision will be probably
7        the strongest measure.              When these orders are
8        given, usually it's a ranking officer giving
9        the instructions and giving the -- pardon me.
10       The dispersal order.
11                        So there is supervision there to
12       make sure it's reasonable and it's -- it's
13       done with a -- to give people an opportunity
14       to leave if they're no longer interested in
15       staying.
16                  Q.    So is there a way that the NYPD
17       monitors to ensure that there is compliance
18       with that?
19                  A.    I would say they monitor it through
20       supervision.         So the person giving the orders
21       is, I would say, is usually a ranking person
22       and then there's levels of supervision above
23       him or her, and that's how we would ensure
24       it's done correctly.
25                  Q.    If people are marching in a group

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1                                            Gannon
2        and they get penned in by the NYPD --
3        withdrawn.
4                           If people are marching in a group
5        and they get penned in because there is now
6        100 people behind them and they are given an
7        order to disperse, how should they act in
8        order to comply?
9                   A.      That's a hypothetical.           I don't
10       know how to answer that question.                   Enough time
11       to -- if people are saying, "No, no.                    We want
12       to get out.          We want to get out" then we're
13       going to let them get out.
14                          It's not like -- oh, it's too late,
15       you know.          People are telling us -- in that
16       scenario if people came up behind them and
17       these folks in the front were saying -- in
18       your scenario were saying "No, no.                   We want to
19       leave.          We want to leave," if it was within a
20       reasonable amount of time, we would let them
21       leave.          We would ensure they left.
22                  Q.      You testified earlier that one of
23       the responses to RNC policing was to have more
24       Legal Bureau attorneys on the ground at large
25       scale protests; is that correct?

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1                                             Gannon
2                   A.       Correct.
3                   Q.       Why are legal bureau attorneys on
4        the ground?
5                   A.       They provide a resource to the
6        incident commander.             So if some legal issues
7        arise, they're there to answer the questions
8        for the incident commander.
9                            For example, during Occupy Wall
10       Street it was a -- there were things that
11       popped up in Occupy Wall Street that you
12       really couldn't anticipate.                  There was an
13       issue with inside Zucotti Park where there was
14       a point where they wanted to set up maybe
15       tents or tarps and things like that and it was
16       prohibited.           And then one person set up a
17       Sukkah tent.           S-U-C-C-O-T-H (sic).          How is
18       that?           That's pretty good.
19                           Sukkah tent and confirmed with
20       legal.           Now you have all sorts of issues
21       there.           Religious.    Is it -- is it a
22       structure?           Is it not a structure.          Those were
23       elements that we leave to our legal folks and
24       they provide some counsel.
25                           And there was also a circumstance

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1                                            Gannon
2        where unfortunately some women were sexually
3        abused inside the park.              So they put up a
4        structure towards the rear of the park where
5        women could go to kind of be safer than in the
6        general population of the park.                  So, again,
7        it's a structure.           It's something where, you
8        know, it wasn't necessarily in the allowable
9        rules.
10                        But our legal folks give us
11       counsel.       What's allowable, what's not
12       allowable, and then you make a judgment.                      And
13       in this case women being sexually abused maybe
14       outweighed the fact that we don't allow tents.
15       So that would be -- Occupy Wall Street was
16       a -- was a wonderland of "what if's" for legal
17       people.
18                        We'd run stuff by them.             You know,
19       the POPs -- the privately owned -- privately
20       owned public spaces, POPs we call them, P-O-P.
21       And you know, before Occupy Wall Street I
22       don't think anybody really knew the
23       functionality of a POP, other than it was
24       something that was agreed to when someone
25       builds a building, constructs a building.

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1                                              Gannon
2                          So that was one of the legal things
3        that we had to work through in that, you know,
4        there was -- they agreed to have these POPs
5        and they're open to the public with certain
6        rules and parameters.               And then, you know, so
7        the occupy folks would take advantage of that
8        fact and they would go in there and they would
9        occupy the POPs and then they would bounce
10       around.         So initially, you know, the Police
11       Department for 33 years.                 Before Occupy Wall
12       Street POP was something you had with a
13       sandwich.         You know if you were down south you
14       had a drink or something like that.
15                         But you wouldn't know what a POP
16       was because you never really dealt with it.
17       Our folks from legal, they are able to advise
18       us.        So that's kind of the gist.             But the core
19       of it, they're a resource for the incident
20       commander.
21                  Q.     What responsibilities did Legal
22       Bureau advisors have at sidewalk protests?
23                  A.     Responsibility?
24                  Q.     Yes?
25                  A.     To be a resource for the incident

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1                                             Gannon
2        commander.           They should be there in case the
3        incident commander says, hey, what do you
4        think about this?            What do you think about
5        that?           They're to be with the incident
6        commander or close to the incident or
7        available to the incident commander so he can
8        make determinations about, you know, whatever
9        question he has.
10                  Q.       What authority does the Legal
11       Bureau advisors have at a sidewalk protest?
12                  A.       I don't know if they have
13       authority.           You know, but the incident
14       commander would be the determining call on
15       mostly everything.            But legal has a valuable
16       role in advising him as to what to do for
17       sure.
18                  Q.       The Legal Bureau Advisors have a
19       role in establishing probable cause at walk
20       protests?
21                  A.       They certainly could help
22       establish.           If there was a question they could
23       certainly advise, absolutely.
24                  Q.       So they would be a resource if
25       requested by an incident commander?

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1                                               Gannon
2                   A.      Yes.
3                   Q.      So an incident commander would make
4        a decision about arrests at sidewalk protests
5        and probable cause but if they had a question
6        about that they would ask for help from the
7        Legal Bureau folks present?
8                   A.      They certainly could, that's
9        correct.
10                  Q.      But if they didn't ask for help
11       they could make these decisions on their own?
12                  A.      Correct.
13                  Q.      If a protestor is engaging in
14       conduct for which a protestor is arrested and
15       a non-protestor is engaging in the exact same
16       conduct, should the non-protestor be permitted
17       to leave without arrest?
18                  A.      Certainly could.            You certainly
19       could.          I mean it would depend on the
20       circumstances, but it's kind of a
21       hypothetical.             We certainly could -- you know
22       it's not even selective.                  It's a matter of do
23       you have enough people to do that kind of
24       thing.          But, you know.
25                  Q.      On a public sidewalk can a

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1                                            Gannon
2        protestor be lawfully ordered to cease
3        activity or conduct at the same time that a
4        non-protestor is permitted to continue the
5        same activity or conduct?
6                   A.    Uh... I would think that we would
7        treat, at that point, everybody the same.                      For
8        example --
9                         Well, I would think that people
10       conducting the same conduct would be -- would
11       be treated the same way.
12                  Q.    We saw earlier on the video that
13       protestors were not permitted to go south but
14       people who were not protesting were given an
15       avenue into the street in order to proceed
16       south on Broadway towards Wall Street.                     So is
17       that a fair way of applying the law in that
18       situation?
19                  A.    Well, you have to remember we're in
20       New York City.          We have to kind of strike a
21       balance to the people's right to protest and
22       assemble versus the people who have absolutely
23       nothing to do or could careless about the
24       protest and they went to go about their daily
25       business.        The NYPD always tries to strike a

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1                                             Gannon
2        balance between those two things.                   And we live
3        in an area that's densely populated and people
4        have other things to do.
5                         So it's the right to protest versus
6        the right to not care about the protest and go
7        about your daily affairs going to work, going
8        to lunch during a daytime protest, going home.
9        So those two things we try to balance it and,
10       you know, we want to let the people who want
11       to protest, protest, but we also have to care
12       for the people who don't have anything to do
13       with the protest to go about their business.
14                  Q.    Can the NYPD apply the law
15       differently based on the way people are
16       dressed?
17                  A.    The way people are dressed?
18                  Q.    Yes.
19                  A.    Sounds like a trick question,
20       Counselor.        Could you read that to me again.
21                  Q.    Can the NYPD apply the law
22       differently based on the way people are
23       dressed?
24                  A.    No.
25                        MR. STECKLOW:          Can we get the video

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1                                               Gannon
2                   queued up of the incident where they stop
3                   people and separate them into two groups?
4                           MR. SHARKEY:         Yes.        I have it right
5                   here.
6                           MR. STECKLOW:          This is also from
7                   9/17/12.
8                           (Video played.)
9                   Q.      Okay.     In this scene we just saw
10       people trying to -- protestors trying to march
11       on Broadway and at some point the police took
12       a spot and just separated them into two
13       groups.         Is that accurate?
14                  A.      Yes.
15                  Q.      Do you understand the reason why
16       the Police Officers would do this?
17                  A.      I don't.
18                  Q.      Did the City of New York have an
19       explanation for why the protestors would be
20       split up like this?
21                  A.      Based on what I see on the video, I
22       can't determine why they would have done that.
23                          (Video played.)
24                  Q.      I would like you to keep your eye
25       on the guy with the gray T-shirt and shorts,

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1                                             Gannon
2        the gray beard and sunglasses.                     Right now he
3        is against the side of the building?
4                   A.    He's got a sticker on his chest
5        there or something?
6                   Q.    Yes.
7                         (Video played.)
8                   Q.    At this point the Police Officer is
9        approaching him.           Has this individual done
10       anything distinguishable from anybody else in
11       the picture of the protestors to warrant
12       arrest?
13                  A.    I don't have any idea.
14                  Q.    Can you see anything in the video
15       that would give you any idea?
16                  A.    The video I've seen right now, I
17       don't have -- I don't have any idea why -- why
18       they would -- why they would have drawn
19       attention to this individual.                     I don't know.
20                        (Video played.)
21                  Q.    Do you see the individual behind
22       them with the button-down shirt, the backpack
23       now next to him?
24                  A.    The yellow shirt?
25                  Q.    Yeah.     The yellow shirt, there is

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1                                             Gannon
2        the two to three -- there is two women there
3        standing there as well?
4                   A.    Yes.
5                   Q.    And they just arrested a woman in a
6        dress -- it's a black and white dress and
7        sunglasses, with a bag over her back; is that
8        correct?
9                   A.    It looks like they placed her in
10       handcuffs, yes.
11                  Q.    Do you see a reason why she would
12       stand out from anybody else on the sidewalk?
13                  A.    Now, remember, earlier we talked
14       about that we're assuming that something
15       happened right here.              Something could have
16       happened previous to this taping and that
17       could be.        Based on this I can't tell you why
18       they -- what was the basis for the arrest.
19       It's hard to tell.
20                  Q.    At the time that they separated
21       these into two groups, did you -- from that
22       time forward until now have you heard anyone
23       give any dispersal orders?
24                  A.    No.
25                  Q.    And you've seen them arrest at

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1                                                 Gannon
2        least four people at this point from this
3        group, correct?
4                   A.          The fourth one here?          This woman
5        here?           Yes.     Including this woman in gray,
6        that would be four.
7                   Q.          Now we heard a warning for the
8        first time in this video, correct?
9                   A.          What did he say?          Do you know?
10                  Q.          "If you don't move you will be
11       arrested."
12                              MS. ROBINSON:        Objection.    That's
13                  not what he said.
14                              MR. STECKLOW:        Ms. Robinson why
15                  don't you tell us what he said, since
16                  I --
17                              MS. ROBINSON:        "Final warning" is
18                  what I heard.          It would be suggestive of
19                  not being the first one.
20                              MR. STECKLOW:        So what did he say?
21                              MS. ROBINSON:        I don't know, but I
22                  heard "final warning."                So let's be, at
23                  least, accurate.
24                  Q.          So the camera did show they were
25       actually at Wall Street, correct?

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1                                             Gannon
2                   A.    Correct.       People are leaving.
3                   Q.    People are now being allowed to go
4        in the direction of where they just stopped
5        people from going, correct?
6                   A.    Yes, yes.        They're going -- that's
7        north on Broadway.
8                   Q.    Do you know if the City of New York
9        had any goals of the NYPD during Occupy Wall
10       Street?
11                  A.    Any goals?
12                  Q.    Yes.
13                  A.    The goal is always to allow
14       peaceful assemblage and protest, balancing
15       that with the right -- like I said before,
16       balancing that with the rights of the other
17       folks not to be involved in the protest.                      That
18       would be the goal.            That's always the goal.
19                        NYPD and the City of New York, we,
20       you know, accept -- not accept, but we --
21                        Peaceful protestors happens all
22       over the city for years and year and years.
23       It's not something that we're not used to
24       accommodating and promoting at certain points.
25                  Q.    What criteria are used to assign

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1                                             Gannon
2        on-scene supervisors for the anniversary
3        protest of September 17, 2012?
4                   A.    What criteria?
5                   Q.    Yes.
6                   A.    Wylie, just repeat that sentence.
7        What criteria?
8                   Q.    What criteria were used to assign
9        on-scene supervisors for the anniversary
10       protest of September 17, 2012?
11                  A.    Well, would depend on -- it was
12       hard, very hard to tell with Occupy Wall
13       Street how many people were going to -- were
14       going to attend an event, attend the protest.
15       They have a -- they weren't a typical -- they
16       weren't a typical group where you would sit
17       down with them and work out the details of
18       what they wanted to do and then accommodate
19       them as far as different routes, if they were
20       going to march or not.
21                        They were actually, part of
22       their -- part of their guiding principles, if
23       you want to call it that during this protest,
24       was that they were leaderless, in effect.
25                        So how is it determined?              You know,

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1                                            Gannon
2        there is open source reporting on -- where
3        people might show up and do things and then
4        you try to -- you try to gauge what that might
5        be, and then assign people accordingly.
6                   Q.    I'm trying to ascertain what
7        criteria used to determine which members of
8        the service were assigned as on-scene
9        supervisors for the anniversary protest.                      Not
10       how many --
11                  A.    Oh.
12                  Q.    -- not where, but which particular
13       officers were utilized as supervisors on scene
14       for the anniversary protest.
15                  A.    I missed the first part.
16                  Q.    What criteria did the City of New
17       York use to make that determination?
18                  A.    That would be determined by -- in
19       all likelihood, that was determined by Chief
20       Purtell, Patrol Borough Manhattan South, in
21       consultation probably which Inspector Winski.
22       He was the commanding officer of the 1st
23       Precinct at the time.             But they would
24       determine who the supervisors were.
25       Especially the higher ranking supervisors.

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1                                            Gannon
2                   Q.    What criteria did Chief Purtell in
3        consultation with Inspector Winski utilize to
4        make that determination?
5                   A.    I don't know.         You have to ask
6        those folks.
7                   Q.    I ask the same question, but now
8        more broadly about Occupy Wall Street.                     Let me
9        ask the question now before you give an
10       answer.
11                        What criteria did the City of New
12       York use when determining which specific
13       supervisors to assign to Occupy Wall Street
14       protest during Occupy Wall Street?
15                  A.    Same -- basically the same answer.
16       It would have been Chief Purtell and Patrol
17       Borough Manhattan South.               Chief Purtell would
18       make the determination as to who the
19       supervisors would be, and he'd have -- and
20       especially the higher ranking people.
21                  Q.    So do you know what the criteria
22       that Chief Purtell utilized to make these
23       determinations when assigning high-ranking
24       officers to police Occupy Wall Street?
25                  A.    No, but Chief Purtell, a highly

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1                                            Gannon
2        experienced guy.           He would -- I don't know
3        what he would use, but it would be his
4        judgment as to who to use.
5                   Q.    How does the NYPD-- withdrawn.
6                         How does the NYPD and the City of
7        New York monitor, and members of the service
8        understand and are aware, of the
9        constitutional limits on police power?
10                  A.    I thought there was more coming.
11                        Well, we do it through supervision
12       and training.         The Legal Bureau is there.                The
13       officers are -- there are several lines of
14       supervision at these events.                 Police
15       supervision is -- is closely matched.                     The
16       officers really don't take independent action.
17       I mean they can if something would were to
18       happen to -- if an officer was attacked or
19       something like that.             But for the most part
20       it's measured and it's done in an orderly
21       fashion with direction being given to make
22       arrests for the most part.                So through
23       supervision and training I would say that's
24       how we answer that question.
25                  Q.    It seems like supervision and

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1                                             Gannon
2        training may provide the knowledge.                    I'm
3        asking how the NYPD monitors these individuals
4        have that knowledge.
5                   A.       I don't know how you would monitor
6        that.           I mean it's training.         Training is, you
7        know, the officers are trained.                   I don't know.
8        I mean it's -- I don't know how you would
9        monitor that.           I don't know.
10                  Q.       How does the NYPD monitor that
11       members of service understand and are aware of
12       the New York State's constitutional limit on
13       police power as set forth in People v. Jones
14       in the New York State Court of Appeals
15       decision issued in November 2007?
16                           MS. ROBINSON:       Objection.      Outside
17                  the scope.     You can answer.
18                  A.       Well, the legality of stuff again.
19       Our legal folks are there to make sure that,
20       you know, that everything is going according
21       to the constitution.              The officers know
22       through their training that there is
23       constitutional limits on what's allowed,
24       what's not allowed.             The supervisors who tend
25       to be more senior people, more experienced

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1                                            Gannon
2        people have a -- have a deeper knowledge of
3        those things.         So I think all those things
4        combined is how the City of New York and the
5        Police Department would ensure that happens.
6                   Q.    Where do those higher ranking
7        individuals gain that deeper knowledge?
8                   A.    Well, one is through experience.
9        You know, you've done protests, you've asked
10       this question of legal in the past.                    You know
11       what the answer is, you know what the
12       circumstances are.            You know, I think that's a
13       big part of it.          They also get -- you know,
14       there is also Legal Bureau bulletins we put
15       out.        The department.       I keep saying "we."
16       That the Police Department puts out.                    That
17       when a case is decided, it's a controlling
18       case, that the legal bureau will makes sure
19       that there is a Legal Bureau bulletin that
20       would go out and that would be, you know,
21       disseminated to everybody and the officer --
22       all the way down from the legal bureau all the
23       way down to everybody in the office.                    Nowadays
24       especially as all that stuff is available on
25       their smartphones so it's great actually.

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1                                            Gannon
2                   Q.    How does the NYPD monitor or track
3        whether or not all these members of the member
4        of service are reading the Legal Bureau
5        bulletins?
6                   A.    Well, you can-- in the -- say, for
7        example, you're an officer assigned to a
8        precinct, regular precinct, and say something
9        comes down that's a legal precedent that Legal
10       determines, boy, we got to get this out now.
11       So Legal Bureau bulletins need to be drafted.
12       It's a formal brief basically.
13                        So in a short term notice we have a
14       thing called a Finest messages, F-I-N-E-S-T
15       messages.        In the old days it was a teletype.
16       It's still a machine, now it just comes out of
17       a printer.        Finest message would be put out to
18       all commands and that would -- that would say,
19       hey, this is -- this is now the rules.                     These
20       are now the rules.            And then how the cop in
21       the precinct would get trained is that the
22       commanding officer is aware of the Finest
23       messages as they come through as our other
24       supervisors in the precinct.                 And there is a
25       training sergeant.            A training sergeant,

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1                                            Gannon
2        something like that.             He would start to brief
3        all the outgoing platoons of Police Officers
4        about this -- about this new legal
5        constitutional issue, whatever it would be.
6        So at its most ground level form, that's
7        probably the best way to describe it.
8                   Q.    You have described how they try and
9        distribute this information.                 I'm asking you a
10       different question.            The question I have asked
11       was:        How does the NYPD monitor whether or not
12       the members of service understand and are
13       aware of this information?                How do they
14       monitor -- withdrawn.
15                        How do they monitor whether or not
16       these legal bureau bulletins are read by the
17       high ranking officers all the way down to the
18       members of service?
19                  A.    Well, the training sergeants in the
20       precinct, let's just go with the Precinct
21       level folks for the moment.                 The training
22       sergeant, his job is to train people.                     So
23       he'll go through -- he'll go through several--
24       several days of training on the subject
25       because obviously people -- Police Officers

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1                                            Gannon
2        don't work seven days a week.                    They rotate in
3        and out and their days change off.                    So there
4        is a period of time where everyone would cycle
5        through the training sergeant's training and
6        at each roll call, and then he would be able
7        to educate all of them.              The higher-ups, you
8        know, a lot of that is -- the higher -- the
9        higher-ranking officers are aware of the Legal
10       Bureau bulletins.           They read the Finest
11       messages.        They're senior people so it's not
12       like -- they have to be, you know, on their
13       game as far as these changes in the law and
14       different things.           So they're self-responsible
15       for kind of doing that I guess is the best way
16       of describing it.
17                  Q.    So the fact that they're
18       self-responsible, does that mean that the NYPD
19       does not know whether or not any of these
20       higher ranking officers actually read the
21       Legal Bureau bulletins?
22                  A.    I don't know.         I don't know if
23       they -- yeah.         Unless you -- I don't know how
24       you would measure that.              I don't know.
25                  Q.    If the NYPD were to learn that a

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1                                            Gannon
2        high-ranking officer was not reading Legal
3        Bureau bulletins, what would they do?
4                   A.     Provide instruction, I would think,
5        or education.         And for the most part if -- if
6        there was something going on where someone
7        wasn't aware of it, Legal, I have stated that
8        description at the scene rather of Occupy Wall
9        Street where something is going on.                    Legal is
10       there to say, oh, you know, to interject
11       themselves and say, hey, this Rule A is now
12       Rule B.         Make sure you're aware of it, you
13       know, and things like that.
14                         Especially something where it was
15       so broad as to be published in a -- so
16       important rather to be published in the Legal
17       Bureau bulletin.
18                  Q.     You previously testified that Legal
19       Bureau is there to be a resource when
20       requested by the white shirt supervising
21       commanders, correct?
22                  A.     Correct.
23                  Q.     So they're not going to step in
24       unless they're requested for that information,
25       correct?

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1                                             Gannon
2                   A.       But they can -- they can -- no.
3        Yeah.           That -- that is correct if you're
4        dealing with a situation, but Legal Bureau at
5        any time can come in and provide advice if
6        they see something that's -- that needs to
7        be -- needs to be addressed.                  I mean it's a --
8        legal is -- they are -- they're a nice asset
9        to have.
10                  Q.       Do you know how many Legal Bureau
11       bulletins have been issued about disorderly
12       conduct in sidewalk protests?
13                  A.       I do not.
14                  Q.       Does the NYPD measure knowledge of
15       New York State's constitutional limits on
16       police power as set forth in People v. Jones
17       during reviews of members of the service?
18                           MS. ROBINSON:       Objection.      Calls
19                  for a legal conclusion.            You can answer.
20                  A.       I don't know.
21                  Q.       I am going to ask the same question
22       with different ranks.              Does the NYPD measure
23       knowledge of New York State's constitutional
24       limits on police power as set forth in the
25       People v. Jones decision during reviews of

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1                                              Gannon
2        sergeants?
3                         MS. ROBINSON:           Objection.       Outside
4                   the scope.
5                   A.    I don't know.
6                   Q.    Does the NYPD measure knowledge of
7        New York State's constitutional limits on
8        police powers as set forth in People v. Jones
9        during reviews of lieutenants?
10                        MS. ROBINSON:           Objection.       Outside
11                  the scope.
12                  A.    I don't know.
13                  Q.    Does the NYPD measure knowledge of
14       New York State's constitutional limits on
15       police powers as set forth in People v. Jones
16       during reviews of captains?
17                        MS. ROBINSON:           Objection.       Same
18                  objection.
19                  A.    I don't know.
20                  Q.    Does the NYPD measure knowledge of
21       New York State's constitutional limits on
22       police powers as set forth in People v. Jones
23       during reviews of inspectors?
24                        MS. ROBINSON:           Same objection.
25                  A.    I don't know.

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1                                            Gannon
2                   Q.      Does the NYPD measure knowledge of
3        New York's State's constitutional limits on
4        police powers as set forth in People v. Jones
5        during reviews of chiefs?
6                           MS. ROBINSON:       Same objection.
7                   A.      I don't know.
8                   Q.      Did the NYPD measure knowledge of
9        New York State's constitutional limits on
10       police power as set forth in People v. Jones
11       during the assignment of the supervising
12       officers at Occupy Wall Street?
13                          MS. ROBINSON:       Same objection.         You
14                  can answer.
15                  A.      I'm thinking actually.           Could you
16       read that back again or could you say it?
17                          MR. STECKLOW:       You can read it
18                  back.
19                          (Record read.)
20                          MS. ROBINSON:       Same objection.
21                  A.      I don't know.
22                  Q.      What process is in place to review
23       policing of sidewalk protests and determine
24       whether such policing was within the
25       constitutional limits of police power?

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1                                            Gannon
2                   A.    I mean there's -- when arrests are
3        made based on probable cause, a supervisor
4        will authorize the arrest to follow up on the
5        arrest to make sure that probable cause has
6        been established.           Is that what you're looking
7        at?        Is that what you're kind of thinking
8        there?
9                         There's levels of supervision that
10       would ensure that the constitutional right of,
11       you know, we're not violating the first or the
12       fourth amendment.           Supervisors ensure that
13       probable cause has been established.                    So
14       that's a protection against constitutional
15       violations, to make sure that the -- to make
16       sure that the officers have a probable cause
17       to make arrest.
18                  Q.    Is there any other process in place
19       for the City of New York to review the
20       policing of sidewalk protest by the NYPD in
21       determining whether such policing was within
22       the constitutional limits of police power?
23                  A.    I don't think so, no.
24                  Q.    I'm going to show you what has been
25       marked as -- previously marked as Exhibit 6.

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1                                              Gannon
2                          This involves the Bronx incident
3        that we previously watched the video of and
4        you had said that you had -- you had said that
5        you also watched that video before you were in
6        this deposition?
7                   A.     Yes.
8                   Q.     Have you seen this document before?
9                   A.     I have not.         You didn't show me
10       this earlier.            No, I have not.
11                  Q.     This is a document dated
12       January 19, 2012 from a City council member to
13       the commissioner of the NYPD raising concerns
14       about the conduct of the police of what
15       occurred in the Bronx video that we watched
16       earlier, correct?
17                  A.     Just give me a chance just to read
18       this real quick.
19                         (Witness perused document.)
20                         Okay.
21                         MR. STECKLOW:          Can you read back
22                  the question.
23                         (Record read.)
24                  A.     It's a letter.           Yes, it is a
25       letter.         I agree it's a letter.             What's the

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1                                            Gannon
2        question?        I'm not sure I follow the question.
3        Is this --
4                   Q.    Do we need to read the question
5        again?
6                   A.    Yeah.     I'm getting a little tired.
7        I'm sorry.
8                         MR. STECKLOW:         Yes.      Read the
9                   question again.
10                        (Record read.)
11                  A.    Correct.
12                  Q.    What actions, if any, did the NYPD
13       undertake in response to this complaint?
14                  A.    Specifically?         I don't know.
15                  Q.    Are you aware that a state senator
16       named Liz Kruger also made a similar complaint
17       about the same exact incident and filed a
18       letter with the commissioner of the NYPD?
19                  A.    I'm not aware of that.
20                  Q.    Do you know if the commissioner or
21       the NYPD took any action in response to State
22       Senator Kruger's letter?
23                  A.    I'm not aware of that.
24                  Q.    In July of 2012 a group of
25       academics from Fordham Law, Columbia Law, NYU

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1                                             Gannon
2        Law and Harvard Law School submitted a
3        130-page report to the NYPD entitled
4        "Suppressing Protest:              Human Rights Violations
5        in the U.S. Response to Occupy Wall Street."
6                         What investigation did the NYPD
7        undertake upon receiving that document?
8                         MS. ROBINSON:          Objection.       Beyond
9                   the scope.     You can answer.
10                  A.    I don't know.
11                  Q.    These individuals who authored that
12       report sought to have a meeting with the NYPD
13       to discuss the findings concerning the
14       policing of Occupy Wall Street, including
15       issues with sidewalk protest.                     Did the NYPD
16       agree to meet with these academics?
17                  A.    I don't know.
18                  Q.    Did the NYPD make any changes to
19       its policing of Occupy Wall Street in response
20       to this report?
21                  A.    The NYPD wouldn't make any changes
22       based on a -- policy changes based on a report
23       such as that.
24                        MR. STECKLOW:          Okay.       Let's take
25                  another five-minute break and this is

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1                                               Gannon
2                   when I can say, yes, wrapping up.                 The
3                   time is now 3:20 and we are taking a
4                   break.
5                            (Recess taken.)
6                            MR. STECKLOW:         The time is now 3:34
7                   and the plaintiffs have no further
8                   questions for the witness.               I do
9                   understand that the defense has some
10                  questions.
11                           MS. ROBINSON:         Yes.
12       EXAMINATION BY
13       MS. ROBINSON:
14                  Q.       Okay.     Lieutenant, I'm going to
15       show you what plaintiff has marked as Exhibit
16       3 in the deposition.                You have a copy of it
17       there.
18                           Did the NYPD make any policy
19       changes as -- in response to the lawsuits
20       filed on this Exhibit?
21                  A.       No.     The NYPD doesn't make --
22       change policy or make policy decisions based
23       on filed lawsuits.
24                  Q.       When a representative or politician
25       of any kind sends a letter to the commissioner

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1                                             Gannon
2        of the NYPD regarding alleged police
3        misconduct, how is that letter handled?
4                   A.    That letter will be -- that letter
5        will be forwarded down to Internal Affairs
6        Bureau for investigation.
7                   Q.    And those cases are, in fact,
8        investigated?
9                   A.    Yes.
10                  Q.    And when we watched the LMSI video,
11       you recall watching the LMSI video?
12                  A.    Yes.
13                  Q.    With regard to the 9/17/2012
14       anniversary of the protest.                  It showed the
15       people on the sidewalk who wanted to leave
16       were permitted to leave, correct?
17                  A.    Correct.
18                        MS. ROBINSON:          That's all I have
19                  for right now.
20                        MR. STECKLOW:          Okay.     It's 3:36.
21                  This deposition is closed.
22                        (Time noted:         3:36 p.m.)
23
24
25

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1
2        STATE OF ______________ )
3                                            ) :ss
4        COUNTY OF ______________)
5
6                         I, LT. DENNIS GANNON, the witness
7        herein, having read the foregoing testimony of
8        the pages of this deposition, do hereby
9        certify it to be a true and correct
10       transcript, subject to the corrections, if
11       any, shown on the attached page.
12
13                                     _______________________
14                                         LT. DENNIS GANNON
15
16       Sworn and subscribed to before
17       me, this          day of , 2018.
18
19       _______________________________
20                   Notary Public
21
22
23
24
25

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1
2                           C E R T I F I C A T E
3
4                         I, ELIZABETH SANTAMARIA, a Court
5        Reporter, do hereby certify that prior to the
6        commencement of the examination, LT. DENNIS
7        GANNON was sworn by me to testify the truth,
8        the whole truth and nothing but the truth.
9                         I DO FURTHER CERTIFY that the
10       foregoing is a true and accurate transcript of
11       the proceedings as taken stenographically by
12       and before me at the time, place and on the
13       date hereinbefore set forth.
14                        I DO FURTHER CERTIFY that I am
15       neither a relative nor employee nor attorney
16       nor counsel of any of the parties to this
17       action, and that I am neither a relative nor
18       employee of such attorney or counsel, and that
19       I am not financially interested in this
20       action.
21
22
                                        <%5037,Signature%>
23                                      ELIZABETH SANTAMARIA
24
25

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1
2        ----------------- I N D E X ------------------
3        WITNESS                    EXAMINATION BY                     PAGE
4        LT. DENNIS GANNON           MR. STECKLOW                         5
5                                    MS. ROBINSON                      188
6
7          ----------- INFORMATION REQUESTS -----------
8                                      (None)
9
10                               E X H I B I T S
11       PLAINTIFF'S                                         FOR IDEN.
12       Exhibit 1         Multi-page document                   13
13       Exhibit 2         Two-page letter dated                 58
14                         April 28, 2003
15       Exhibit 3         One-page document                     70
16       Exhibit 4         One page depicting color              79
17                         copies of three photos
18       Exhibit 5         Letter dated 5/5/2014                 88
19       Exhibit 6         Letter dated 1/19/2012                99
20       Exhibit 7         Letter dated 1/1/2012                 99
21                                     --o0o--
22                          (Retained by Counsel)
23
24
25

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1
2                      INSTRUCTIONS TO WITNESS
3
4                         Please read your deposition over
5        carefully and make any necessary corrections.
6        You should state the reason in the appropriate
7        space on the errata sheet for any corrections
8        that are made.
9                         After doing so, please sign the
10       errata sheet and date it.
11                        You are signing same subject to the
12       changes you have noted on the errata sheet,
13       which will be attached to your deposition.
14                        It is imperative that you return
15       the original errata sheet to the deposing
16       attorney within thirty (30) days of receipt of
17       the deposition transcript by you. If you fail
18       to do so, the deposition transcript may be
19       deemed to be accurate and may be used in
20       court.
21
22
23
24
25

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1                                     E R R A T A
2
3
4
5                     I wish to make the following changes,
6             for the following reasons:
7
8             PAGE LINE
9             ___      ___ CHANGE:__________________________
10            REASON:___________________________________
11            ___      ___ CHANGE:__________________________
12            REASON:___________________________________
13            ___ ___ CHANGE:___________________________
14            REASON:___________________________________
15            ___ ___ CHANGE: __________________________
16            REASON:___________________________________
17            ___ ___ CHANGE: __________________________
18            REASON:___________________________________
19
20           _________________________                    _____________
                    LT. DENNIS GANNON                           DATE
21
22         SUBSCRIBED AND SWORN TO BEFORE
23         ME THIS ___DAY OF_______, 201 .
24
           __________________                    __________________
25         NOTARY PUBLIC                         COMMISSION EXPIRES

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